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UNITED STATES DISTRICT COURT                                            DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                           DATE FILED: July 31, 2018
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                                                                    :
 DR. ALAN SACERDOTE, DR. HERBERT                                    :
 SAMUELS, MARK CRISPIN MILLER,                                      :
 PATRICK LAMSON-HALL, MARIE E.                                      :
 MONACO, DR. SHULAMITH LALA                                         :
 STRAUSSNER, and JAMES B. BROWN,                                    :
 individually and as representatives of a                           :
 class of participants and beneficiaries on                         :
 behalf of the NYU School of Medicine                               :         16-cv-6284 (KBF)
 Retirement Plan for Members of the                                 :
 Faculty, Professional Research Staff and                           :        OPINION & ORDER
 Administration and the New York                                    :
 University Retirement Plan for Members of                          :
 the Faculty, Professional Research Staff                           :
 and Administration,                                                :
                                                                    :
                                              Plaintiffs,           :
                                                                    :
                            -v-                                     :
                                                                    :
 NEW YORK UNIVERSITY,                                               :
                                                                    :
                                              Defendant.            :
                                                                    :
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KATHERINE B. FORREST, District Judge:

        Each week, to ensure a more secure future, employees throughout the United

States contribute portions of their paychecks to retirement savings accounts. An

employer sponsoring a retirement plan becomes a fiduciary under the Employee

Retirement Income Savings Act (“ERISA”) and is required to act vis-à-vis a plan

with the care, skill, and diligence that a prudent person would use in a similar

situation. See Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828 (2015). Employees rely

on such fiduciaries to perform their duties with appropriate dedication and
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attention. The fiduciary duty imposed by ERISA reflects congressional recognition

of the importance of workers’ retirement savings.

       Plaintiffs here are employees of New York University (“NYU”) who claim that

NYU, through its Retirement Plan Committee (the “Committee”), failed to fulfill

certain of its fiduciary obligations under ERISA. According to plaintiffs, NYU’s

imprudence resulted in losses totaling more than $358 million. They are one of at

least eleven groups of plaintiffs—all represented by the same counsel—asserting

ERISA claims against their university-employers.1 This is the first of those cases to

proceed to trial.

       Plaintiffs assert that the Committee breached its duty of prudence with

regards to two NYU retirement plans: the New York University Retirement Plan for

Members of the Faculty, Professional Research Staff and Administration (the

“Faculty Plan”) and the New York University School of Medicine Retirement Plan

for Members of the Faculty, Professional Research Staff and Administration (the

“Medical Plan”) (together, the “Plans”). The same Committee oversees both Plans.

Plaintiffs’ first claim is that the Committee imprudently managed the selection and

monitoring of recordkeeping vendors resulting in excessively high fees. According



1See, e.g., Munro v. Univ. of S. Calif., 16-cv-6191 (C.D. Cal.); Vellali v. Yale Univ., 16-cv-1345 (D.
Conn.); Henderson v. Emory Univ., 16-cv-2920 (N.D. Ga.); Divane v. Northwestern Univ., 16-cv-8157
(N.D. Ill.); Kelly v. Johns Hopkins Univ., 16-cv-2835 (D. Md.); Tracey v. Mass. Inst. Tech., 16-cv-
11620 (D. Mass.); Clark v. Duke Univ., 16-cv-1044 (M.D.N.C.); Cates v. Columbia Univ., 16-cv-6524
(S.D.N.Y.); Sweda v. Univ. of Pa., 16-cv-4329 (E.D. Pa.); Cunningham v. Cornell Univ., 16-cv-6525
(S.D.N.Y.); Cassell v. Vanderbilt Univ., 16-cv-2086 (M.D. Tenn.).
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to plaintiffs, the Committee could have reduced such fees by “consolidating” its use

of two recordkeepers into one, and also by negotiating a lower overall rate.

Plaintiffs include in this claim arguments that the Committee: (1) failed to

prudently manage a request-for-proposal (“RFP”) process relating to recordkeeping

vendors; (2) failed to allow respondents to propose pricing for all Plan assets (versus

only non-annuity assets); and (3) had pre-determined that TIAA (already a

recordkeeper for annuity assets) was the favored vendor.

      Plaintiffs’ second claim is that the Committee acted imprudently by failing to

remove the TIAA Real Estate Account and the CREF Stock Account as investment

options (thereby continuing to allow plaintiffs to invest in such funds). Plaintiffs

assert that the Committee used confusing and inappropriate financial benchmarks

to review their performance and that these funds objectively underperformed,

resulting in significant losses.

      After careful review of the record, the Court finds by a preponderance of the

evidence that while there were deficiencies in the Committee’s processes—including

that several members displayed a concerning lack of knowledge relevant to the

Committee’s mandate—plaintiffs have not proven that the Committee acted

imprudently or that the Plans suffered losses as a result.

      Accordingly, the Court finds in favor of NYU on all claims.




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I.     PROCEDURAL HISTORY

       This action was far more expansive at the time of initial filing. The first

complaint, filed on August 9, 2016, contained seven counts.2 In a decision dated

August 25, 2017, the Court dismissed several claims in the Amended Complaint,

(ECF No. 39), leaving only the two which proceeded to trial. Sacerdote v. New York

Univ., No. 16-cv-6284, 2017 WL 3701482 (S.D.N.Y. Aug. 25, 2017).

       On February 13, 2018, the Court certified a class consisting of:

       All participants and beneficiaries of the NYU School of Medicine
       Retirement Plan for Members of the Faculty, Professional Research
       Staff and Administration and the New York University Retirement
       Plan for Members of the Faculty, Professional Research Staff and
       Administration from August 9, 2010, through the date of judgment,
       excluding the Defendant and any participant who is a fiduciary to the
       Plans.

Sacerdote v. New York Univ., No. 16-cv-6284, 2018 WL 840364, at *7 (S.D.N.Y. Feb.

13, 2018). The “Class Period” is therefore August 9, 2010 to the present.




2 Initially, plaintiffs alleged that NYU breached its fiduciary duties of loyalty and prudence (Claims
I, III, and V) by failing to use “the Plans’ bargaining power to reduce expenses and [to exercise]
independent judgment to determine what investments to include in the Plans.” (ECF No. 39, Am.
Compl. ¶ 4.) Plaintiffs also claimed that NYU allowed the Plans’ “conflicted third party service
providers—TIAA-CREF and Vanguard—to dictate the Plans’ investment lineup, to link its
recordkeeping services to the placement of investment products in the Plans, and to collect unlimited
asset-based compensation from their own proprietary products.” (Id.) Claims II, IV, and VI alleged
that NYU engaged in prohibited transactions because plaintiffs, through their investments, allegedly
“paid a portion of the Plans’ excessive administrative and recordkeeping fees, [costs] which would not
have been incurred had defendants discharged their fiduciary duties to the Plan.” (Id. ¶ 8(c).) In
addition, Claim VII asserted that, to the extent NYU delegated any of its fiduciary responsibilities to
another fiduciary, NYU breached its duty to monitor. (Id. ¶¶ 236-39.)
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        The Court held an eight-day bench trial in April 2016; post-trial submissions

were filed on May 13, 2018 and closing arguments were held on May 16, 2018.

Twenty witnesses testified at trial (seventeen by trial declaration,3 with live cross

and redirect, and three by deposition designation), including: named plaintiffs

(Marie Monaco,4 Alan Sacerdote,5 Mark Crispin Miller,6 and Shulamith

Straussner7); six former and current members of NYU’s Retirement Committee




3 The Court’s procedure for bench trials provides for direct examination by trial declaration, with live
cross-examination and redirect.
4 Monaco is a participant in the Medical Plan. (PX1683 (“Monaco Decl.”).) She has been invested in

the TIAA Real Estate Account and the CREF Stock Account since 1980. (Tr. at 1041:14-1042:2; see
also Monaco Decl. ¶ 3.) She has never sought to reduce her investments in these funds. (Tr. at
1041:17-1042:23.) As of December 31, 2017, 82.12% of her portfolio was invested in the CREF Stock
Account, 0.48% was invested in the TIAA Real Estate Account, and the remainder was divided
among other TIAA funds. (DX874.) She is also invested in two TIAA annuities. (See PX729,
PX731.) Monaco testified that her Medical Plan account has not lost money. (Tr. at 1044:8-10.) She
further conceded that she did not typically read the quarterly statements TIAA provides. (Tr. at
1046:8-13.)
5 Sacerdote is a participant in the Medical Plan. (PX1685 (“Sacerdote Decl.”).) He is not invested in

the TIAA Real Estate Account or the CREF Stock Account. (Tr. at 1036:18-23.)
6 Miller is a participant in the Faculty Plan. (PX1682 (“Miller Decl.”).) He is not invested in any

TIAA accounts through the Plans. (Tr. at 1031:5-13.) However, he is invested in the CREF Stock
Account through retirement plans at universities where he was previously employed—Johns
Hopkins University and the University of Pennsylvania. (Id. at 1032:13-1032:17.) He has not
altered his investments in any of those plans since this lawsuit commenced. (Id. at 1033:4-6.)
7 Straussner is a participant in the Faculty Plan. (PX1684 (“Straussner Decl.”).) She has been

invested in the TIAA Real Estate Account and the CREF Stock Account since at least 2009.
(Straussner Decl. ¶ 3.) Between July 1, 2009 and June 30, 2017, the value of her CREF Stock
Account grew by 265%; the value of her TIAA Real Estate account grew by 538%; and her overall
savings grew by 252%. (See DX344, DX377.) As of June 30, 2017, her savings in the TIAA Real
Estate Account and the CREF Stock Account amounted to 43.05% of her total portfolio. (See DX344,
DX377.) Straussner has not sought to reduce her investment in either account. (Tr. at 1027:4-
1028:1.) Straussner is also invested in a retirement annuity account, described in more detail below.
(See PX739.)
                                                       5
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(Margaret Meagher,8 Nancy Sanchez,9 Patricia Halley,10 Tina Surh,11 Martin

Dorph,12 and Linda Woodruff13); two NYU staff members (Mark Petti14 and

Susanna Hollnsteiner15); one TIAA representative (Douglas Chittenden16); one

Vanguard representative (George Heming17); and one Cammack LaRhette




8 Meagher has been the co-chair of the Committee since its inception. (DX883 (“Meagher Decl.”).)
She testified regarding the Committee’s due diligence activities and her role. The Court found her
testimony concerning—she did not demonstrate the depth of knowledge one would expect from a
fiduciary.
9 Sanchez, Meagher’s supervisor, is another Committee member. (DX885 (“Sanchez Decl.”).) Her

testimony was also troubling. Not only did she fail to demonstrate a satisfactory understanding of
key documents and her role as a fiduciary, but she also relied on Meagher to review certain key
documents, (Tr. at 385:3-9) and noted that she did not consider herself a fiduciary (but rather
believed the Committee was the fiduciary), (id. at 386:20-387:9).
10 Halley is NYU’s Assistant Vice President of Global Benefits and another member of the

Committee; she testified about the Committee’s processes and discussions. (DX887 (“Halley Decl.”).)
As part of this, she testified that the Committee’s meeting minutes are intended to be summaries
and not to capture every detail and conversation.
11 For the period of 2010-2014, Surh was NYU’s Chief Investment Officer (“CIO”) and a Committee

member. (DX884 (“Surh Decl.”).) Of the Committee members who testified, she was the most
knowledgeable about the investment options in the Plans. The Court found Surh to be a highly
credible witness and gives significant weight to her testimony. Surh asked a number of probing
questions during Committee meetings and demonstrated that the Committee exerted
decisionmaking authority independent from its financial advisor, Cammack LaRhette Consulting
(“Cammack”).
12 Dorph, now NYU’s Executive Vice President and a Committee member until 2017, also provided

somewhat concerning testimony. For instance, on the first day of his testimony, he did not even
know whether he was currently a member of the Committee (and, accordingly, whether he was a
fiduciary to thousands of employees). (Tr. at 1311:3-6; see also DX888 (“Dorph Decl.”).) However,
his testimony regarding NYU’s information technology (“IT”) transitions and their impact on
recordkeeping consolidation was informative, detailed, consistent, and very credible.
13 Woodruff was a Committee member from 2010-2012. (ECF No. 283-1.)
14 Petti was a Manager of Retirement Plans at NYU; he attended Committee meetings but was not a

member of the Committee. (DX886 (“Petti Decl.”).)
15 Hollnsteiner was also a Manager of Retirement Plans at NYU; she similarly attended Committee

meetings but was not a member of the Committee. (ECF No. 283-1.)
16 Chittenden is the Executive Vice President and head of the Institutional Retirement business of

Institutional Financial Services (“IFS”) at TIAA. (DX892 (“Chittenden Decl.”).) He was a highly
credible witness and was very knowledgeable regarding NYU’s Plans as well as TIAA’s offerings and
capabilities.
17 Heming is a principal at Vanguard. (ECF No. 283-1.) He displayed significant knowledge

regarding Vanguard’s offerings and capabilities.
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Consulting (“Cammack”) representative (Jan Rezler18). Plaintiffs also called two

expert witnesses: Michael Geist19 and Gerald Buetow.20 NYU called three expert

witnesses: Marcia Wagner,21 Daniel Fischel,22 and Dr. Lassaad Adel Turki.23 The

Court also received over six hundred documents into evidence.




18 Rezler has advised the Committee since Cammack’s retention in 2009. (DX893 (“Rezler Decl.”).)
He displayed deep knowledge and understanding of the NYU Plans as well as the offerings and
capabilities of vendors such as TIAA and Vanguard.
19 Plaintiffs retained Geist to provide analysis and opinions related to the Committee’s

actions/inactions regarding recordkeeping fees. (PX1681 (“Geist Decl.”).) Geist spent over ten years
in the Retirement Plan Services (“RPS”) division of T. Rowe Price, during which time he “was
responsible for delivering, creating, and/or governing over 20,000 pricing proposals for over 10,000
retirement plans.” (Id. ¶ 3.)
         As discussed below, Geist lacked the particular expertise necessary to provide useful
opinions to the Court. He has virtually no experience with: (1) the type of plans at issue here (403(b)
plans); (2) participants heavily invested in TIAA annuities; or (3) transitioning large plans from
multiple to single recordkeepers. (See, e.g., Tr. at 702:15-703:2 (noting that a “small percentage of
the plans that [he] worked with at T. Rowe Price” were 403(b) plans); id. at 775:23-25, 784:19-785:4
(noting that had no experience with transitioning a 403(b) plan from dual record keeper to a single
recordkeeper, and while he had some experience in transitioning billion dollar plans from multi-
record keeper to single recordkeeper, he could not recall the name of one).) T. Rowe Price did not
recordkeep annuities while Geist worked there, (id. at 704:10:15; id. at 774:19-22), and Geist has no
specific knowledge of “what it costs to record-keep a fixed annuity,” (id. at 706:23-707:1; id. at 712:24-
713:6). The Court does not believe that he is a true “expert” on the pricing of the specific products at
issue here and he did not demonstrate to the Court that he possesses the requisite qualifications to
present reliable opinions on whether NYU’s participants paid reasonable recordkeeping fees.
20 Plaintiffs retained Buetow to provide expert testimony regarding the investment performance of

the TIAA Real Estate Account and the CREF Stock Account, as well as damages. (PX1690 (“Buetow
Decl.”).) As discussed below, Buetow’s testimony relied heavily on his view that the Committee used
inappropriate benchmarks against which to measure investment fund performance. The Court was
not persuaded by this testimony.
21 Defendant retained Wagner to provide expert testimony regarding NYU’s processes relating to

recordkeeping fees and to rebut Geist’s testimony on the same topic. (DX889B (“Wagner Decl.”).)
The Court found her experience with 403(b) plans impressive and her testimony consistent,
reasonable, logical, and ultimately highly credible.
22 Defendant retained Fischel to analyze the investment performance of the CREF Stock Account and

TIAA Real Estate Accounts and to rebut Buetow’s testimony on the same topic. (DX891A (“Fischel
Decl.”).) The Court found him knowledgeable, reasonable, and consistent; overall, he was highly
credible and the Court gives great weight to his testimony.
23 Defendant retained Turki as a damages rebuttal expert. (DX890A (“Turki Decl.”).) He has a

wealth of experience in this area, and the Court relied on his opinions.
                                                        7
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II.    LEGAL PRINCIPLES24

       To prove a breach of the duty of prudence, plaintiffs bears the burden of

showing: (1) that NYU failed to engage in a prudent process (here, with specific

regard to how it monitored recordkeeping fees and certain investment options); and

(2) that, on an objective basis, such breaches led to Plan losses. Plaintiffs have

failed to carry their burden.

       A.      ERISA Generally

       Under ERISA, the duties owed by fiduciaries to plan participants “are those

of trustees of an express trust—the highest known to the law.” Donovan v.

Bierwirth, 680 F.2d 263, 272 n.8 (2d Cir. 1982). ERISA § 404(a)(1) (codified at 29

U.S.C. § 1104(a)(1)) imposes twin duties of prudence and loyalty on fiduciaries of

retirement plans. The duty of loyalty—not principally at issue in this case—is

codified in ERISA § 404(a)(1)(A). It requires fiduciaries to act “solely in the interest

of the participants and beneficiaries,” and “for the exclusive purpose of providing

benefits to participants and their beneficiaries; and defraying reasonable expenses

of administering the plan.” ERISA § 404(a)(1)(A). “The most fundamental duty

owed by the trustee to the beneficiaries of the trust is the duty of loyalty. . . . It is

the duty of a trustee to administer the trust solely in the interest of the



24The remainder of this Opinion constitutes the Court’s conclusions of law and findings of fact. The
Court makes its findings of fact by a preponderance of the credible evidence. While this Opinion
contains some citations to evidence, they should be considered examples only. The Court has not
attempted to recite all supportive citations in the record.
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beneficiaries.” Pegram v. Herdrich, 530 U.S. 211, 224 (2000) (internal quotation

omitted).

      The duty of prudence requires a fiduciary to act “with the care, skill,

prudence, and diligence under the circumstances then prevailing that a prudent

man acting in a like capacity and familiar with such matters would use in the

conduct of an enterprise of a like character and with like aims.” ERISA §

404(a)(1)(B). The “prudent person” standard asks whether “the individual trustees,

at the time they engaged in the challenged transactions, employed the appropriate

methods to investigate the merits of the investment and to structure the

investment.” Katsaros v. Cody, 744 F.2d 270, 279 (2d Cir. 1984) (quoting Donovan

v. Mazzola, 716 F.2d 1226, 1232 (9th Cir. 1983), cert. denied, 464 U.S. 1040 (1984);

see also Pension Ben. Guar. Corp. ex rel. St. Vincent Catholic Med. Centers Ret.

Plan v. Morgan Stanley Inv. Mgmt. Inc. (PBGC), 712 F.3d 705, 716 (2d Cir. 2013)

(noting that the standard “focus[es] on a fiduciary’s conduct in arriving at an

investment decision, not on its results, and ask[s] whether a fiduciary employed the

appropriate methods to investigate and determine the merits of a particular

investment” (quoting In re Unisys Sav. Plan Litig., 74 F.3d 420, 434 (3d Cir. 1996))

(alterations in PBGC)). “In short, ERISA’s ‘fiduciary duty of care . . . requires

prudence, not prescience.’” PBGC, 712 F.3d at 716 (quoting DeBruyne v. Equitable

Life Assurance Soc’y of the U.S., 920 F.2d 457, 465 (7th Cir. 1990)). Fiduciaries’

prudence is measured against an objective standard, and their own “lack of
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familiarity with investments is no excuse” for failing to act with the care, skill,

prudence and diligence required under the circumstances then prevailing.

Katsaros, 744 F.2d at 279. Participants may bring civil actions for failures in

fiduciary performance. 29 U.S.C. § 1132(a)(2). An action under § 1132(a)(2) is

“brought in a representative capacity on behalf of the plan.” L.I. Head Start Child

Dev. Servs. v. Econ. Opportunity Council of Suffolk, Inc., 710 F.3d 57, 65 (2d Cir.

2013) (quoting Coan v. Kaufman, 457 F.3d 250, 257 (2d Cir. 2006)).

      B.     Principles Related to an Imprudent Process Claim

      A fiduciary breaches its duty of prudence when it fails to “employ[] the

appropriate methods” in making investment decisions. See Katsaros, 744 F.2d at

279 (quoting Mazzola, 716 F.2d at 1232).

      Pursuant to ERISA implementing regulations, promulgated by the
      Secretary of Labor, a fiduciary’s compliance with the prudent-man
      standard requires that the fiduciary give “appropriate consideration”
      to whether an investment “is reasonably designed, as part of the
      portfolio . . . to further the purposes of the plan, taking into
      consideration the risk of loss and the opportunity for gain (or other
      return) associated with the investment.”

PBGC, 712 F.3d at 716 (quoting 29 C.F.R. § 2550.404a–1(b)(2)(i)). Fiduciaries

should consider the prudence of each investment as it relates to the portfolio as a

whole, rather than in isolation. Id., 712 F.3d at 717. Accordingly, courts must look

to “not only to [a fiduciary’s] investigation procedures, but also to the methods used

to carry out those procedures as well as the thoroughness of their analysis of the

data collected in that investigation.” Chao v. Tr. Fund Advisors, No. Civ. A. 02-559,
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2004 WL 444029, at *3 (D.D.C. Jan. 20, 2004); see also Henry v. Champlain Enters.,

Inc., 445 F.3d 610, 620 (2d Cir. 2006) (holding that a failure to produce notes

documenting an investigation did not, on its own, indicate that the defendant failed

to employ an “appropriate method”); United States v. Mason Tenders Dist. Council

of Greater N.Y., 909 F. Supp. 882, 890 (S.D.N.Y. 1995) (holding that a fiduciary

failed to discharge its obligation to investigate various purchases of property).

      C.     Principles Relevant to Monitoring and Removing Investments

      Fiduciaries have a “continuing duty to monitor investments and remove

imprudent ones[.]” Tibble, 135 S. Ct. at 1829. This means that a fiduciary “cannot

assume” that investments that were prudent at one time “will remain so

indefinitely.” Id. at 1828 (quoting A. Hess, G. Bogert & G. Bogert, Law of Trusts

and Trustees (“Bogert 3d”) § 684, pp. 145-146 (3d ed. 2009)). Rather, the fiduciary

“must ‘systematic[ally] conside[r] all the investments of the trust at regular

intervals’ to ensure that they are appropriate.” Id., 135 S. Ct. at 1828 (quoting

Bogert 3d § 684) (alterations in Tibble). In short, a fiduciary “‘who simply ignores

changed circumstances that have increased the risk of loss to the trust’s

beneficiaries is imprudent.’” PBGC, 712 F.3d at 717 (quoting Armstrong v. LaSalle

Bank Nat’l Ass’n, 446 F.3d 728, 734 (7th Cir. 2006)).

      In order to prevail in their claims here, plaintiffs bear the burden of

establishing that the Plans suffered a loss due to the breach. Silverman v. Mutual

Ben. Life Ins. Co., 138 F.3d 98, 104 (2d Cir. 1998). Specifically, under ERISA:
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       Any person who is a fiduciary . . . who breaches any of the
       responsibilities, obligations, or duties . . . shall be personally liable to
       make good to such plan any losses to the plan resulting from each such
       breach, and to restore to such plan any profits of such fiduciary which
       have been made through use of assets of the plan by the fiduciary, and
       shall be subject to such other equitable or remedial relief as the court
       may deem appropriate, including removal of such fiduciary.

29 U.S.C. § 1109(a) (emphasis added); see also PBGC, 712 F.3d at 730 (noting that a

claim for breach of fiduciary duty under ERISA requires an alleged loss to the plan

at issue); Mira v. Nuclear Measurements Corp., 107 F.3d 466, 473 (7th Cir. 1997)

(“In light of our holding that the plaintiffs suffered no economic loss, we hold that

this case falls within the ‘no harm, no foul’ rule. It is a longstanding principle in

civil law that there can be no monetary recovery unless the plaintiff has suffered

harm.”); Silverman, 138 F.3d at 105 (“Causation of damages . . . is an element of the

claim, and the plaintiff bears the burden of proving it.”).

       Therefore, even if plaintiffs had established that NYU did not follow a

prudent process in monitoring administrative fees and investments (which, as

discussed below, they have failed to do), in order to be entitled to recover damages,

the Plan(s) must have also suffered a causally related loss.25 ERISA § 404(a)(1)(B);




25Plaintiffs argue that once a plaintiff has proven a breach of a fiduciary duty and loss to the plan,
the burden of explanation or justification shifts to defendant. See N.Y. State Teamsters Council
Health & Hosp. Fund v. Estate of DePerno, 18 F.3d 179, 182 (2d Cir. 1994). In other words,
according to plaintiffs, defendant then bears the burden of disproving causation (i.e., that its
decisions were objectively prudent, in that any prudent fiduciary would have made the decisions it
made). Defendant counters that the Second Circuit has rejected such burden-shifting, citing
Silverman, 138 F.3d at 105. The Court need not resolve this question, as plaintiffs acknowledge that
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see also Roth v. Sawyer-Cleator Lumber Co., 16 F.3d 915, 919 (8th Cir. 1994) (“Even

if a [fiduciary] failed to conduct an investigation before making a decision, he is

insulated from liability if a hypothetical prudent fiduciary would have made the

same decision anyway.”).

       D.      Principles Particularly Relevant to Excessive Fee Claims

       A fiduciary also has the responsibility of ensuring that fees paid to

recordkeepers are not excessive relative to services rendered. Young v. Gen. Motors

Inv. Mgmt. Corp., 325 Fed. App’x 31 (2d Cir. 2009). In Young, the Second Circuit

held that a prudence claim based on excessive fees must be supported by facts that

take the particular circumstances into account. Id., 325 Fed. App’x at 33 (citing

Gartenberg v. Merrill Lynch Asset Mgmt., 694 F.2d 923, 928 (2d Cir. 1982) and

Krinsk v. Fund Asset Mgmt., Inc., 875 F.2d 404, 409 (2d Cir. 1989)). These facts

may go to fiduciaries’ “independence and conscientiousness,” Krinsk, 875 F.2d at

409, and they may tend to show whether a fiduciary failed to adequately tether fees

to services rendered or employed an imprudent process. ERISA does not dictate

“any particular course of action” with regards to fees, but it does require a “fiduciary

. . . to exercise care prudently and with diligence under the circumstances then

prevailing.” Chao v. Merino, 452 F.3d 174, 182 (2d Cir. 2006) (internal quotation




they bear the initial burden of proving both (1) that a breach occurred and (2) the Plans suffered a
loss as a result. As discussed below, plaintiffs have not proven either.
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omitted). For example, competitive bidding is not per se required under ERISA, but

it can be an example of an action taken to ensure fees are appropriate. See White v.

Chevron Corp., 16-cv-0793, 2016 WL 4502808, at *14 (N.D. Cal. Aug. 16, 2016); see

also George v. Kraft Foods Glob., Inc., 641 F.3d 786, 800 (7th Cir. 2011) (holding “a

trier of fact could reasonably conclude that defendants did not satisfy their duty to

ensure that [the recordkeeper’s] fees were reasonable” where plan fiduciaries failed

to, inter alia, solicit competitive bidding for more than fifteen years). As with other

ERISA claims, plaintiffs must show that demonstrated imprudence in fact “resulted

in monetary loss.” George, 641 F.3d at 797.

          E.      Reliance Between and Among Fiduciaries

          As discussed below, in April 2009, the Committee retained Cammack to act

as an investment advisor to the Committee; Cammack thus became a co-fiduciary.26

During the trial, certain witnesses testified that they—in effect—assumed that on

financial issues (which constituted a significant portion of the Committee’s

mandate), they could defer virtually entirely to Cammack for expertise and

information and rely on its recommendations. This is incorrect.

          The hiring or appointment of a co-fiduciary does not relieve the original

fiduciary of its independent duties; no fiduciary may passively rely on information

provided by a co-fiduciary. Bierwirth, 680 F.2d at 272. A fiduciary who delegates




26   The parties agree that Cammack is a co-fiduciary. (See ECF Nos. 301 at 1, 302 at 4.)
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fiduciary responsibilities nonetheless retains a duty to exercise prudence “in

continuing the allocation or designation.” 29 U.S.C. § 1105(c)(A)(iii). In this regard,

good old-fashioned “kicking the tires” of the appointed fiduciary’s work is required:

“ERISA’s duty to investigate requires fiduciaries to review the data a consultant

gathers, to assess its significance and to supplement it where necessary.” In re

Unisys, 74 F.3d at 435. “In order to rely on an expert’s advice, a ‘fiduciary must (1)

investigate the expert’s qualifications, (2) provide the expert with complete and

accurate information, and (3) make certain that reliance on the expert’s advice is

reasonably justified under the circumstances.’” Bussian v. RJR Nabisco, Inc., 223

F.3d 286, 301 (5th Cir. 2000) (quoting Howard v. Shay, 100 F.3d 1484 at 1489 (9th

Cir. 1996)); see also Hugler v. First Bankers Tr. Servs., Inc., No. 12-cv-8649, 2017

WL 1194692, at *11 (S.D.N.Y. Mar. 30, 2017) (outlining the same three

requirements).27

       Put otherwise, Cammack’s appointment does not now and never has entitled

the Committee or its members to unthinkingly defer to Cammack’s expertise—even

when Cammack was hired because it possessed expertise Committee members did

not. To fulfill their duties, the Committee members must meaningfully probe

Cammack’s advice and make informed but independent decisions. See In re Unisys,




27The parties agree that NYU has not delegated its fiduciary responsibilities pursuant to 29 U.S.C. §
1105. (ECF No. 301 at 3, ECF No. 302 at 4.)
                                                     15
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74 F.3d at 434-35; Bussian, 223 F.3d 286. Certainly, a fiduciary is within its

rights—and likely well-advised—to seek advice from experts. Hightshue v. AIG

Life Ins. Co., 135 F.3d 1144, 1148 (7th Cir. 1998 (“Seeking independent expert

advice is evidence of a thorough investigation . . . .”). However, this comes with the

proviso that the fiduciary “investigate[s] the expert’s qualifications . . . and

determine[s] that reliance on the expert’s advice is reasonably justified under the

circumstances.” Id., 135 F.3d at 1148. While the fiduciary need not “duplicate the

expert’s analysis,” it must “review that analysis to determine the extent to which

any emerging recommendation can be relied upon.” Bussian, 223 F.3d at 301. This

can take various forms, such as “an honest, objective effort to read the valuation,

understand it, and question the methods and assumptions that do not make sense.”

Howard v. Shay, 100 F.3d 1484, 1490 (9th Cir. 1996).

III.   THE PLANS

       NYU established both the Faculty and Medical Plans in 1952. (PX940;

DX386.) NYU is the designated “Sponsor” of both. (Tr. at 369:10.) They are

defined-contribution, participant-directed 403(b) plans available to employees.

       A.    The Faculty Plan

       In 2010, the Faculty Plan had 12,868 participants and $1.79 billion in assets;

by the end of 2016, the number of participants had grown to 18,551 and assets had

increased to $2.62 billion. (DX46 at 2, 18; DX3 at 2, 19.) Each participant has the

independent ability to decide how his/her money should be invested. (PX940 at 14.)
                                               16
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The Plan provides for 103 investment options. During the Class Period, the Faculty

Plan offered investment options comprised of funds managed by TIAA (twenty-five

options) and Vanguard (seventy-eight options). (See, e.g., PX497; PX718; DX87.)

These options included fixed and variable annuities, as well as mutual funds. (Id.)

The Faculty Plan offers participants both actively- and passively-managed index

funds. (Active management typically carries higher fees.)

      B.     The Medical Plan

      The Medical Plan is available to employees of the NYU School of Medicine.

(Meagher Decl. ¶ 8; DX386 at 11.) In 2010, the Medical Plan had 9,153 participants

and $1.29 billion in assets; by the end of 2016, it had actually shrunk in size to

8,560 participants but its assets increased to $2.02 billion. (DX27 at 2, 18; DX4 at

2, 19.) Like the Faculty Plan, each participant may choose among investment

options. (DX386 at 18.) And like the Faculty Plan, the Medical Plan offers diverse

investment options (of which there are eighty) including funds managed by TIAA

(nine options) and Vanguard (seventy-one options); among the options are fixed and

variable annuities as well as actively- and passively-managed index funds. (PX688;

DX149.)

      C.     An Overview of Recordkeeping Services

      Retirement accounts require management. As part of this, information

regarding account balance and investment performance must be calculated and

provided to participants. Necessary services also include preparing enrollment kits
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and delivering information such as fund notices, prospectuses, and financial

statements; additional and optional services might also include providing

investment and savings advice. (Halley Decl. ¶ 30; DX526 at 11-13; DX532 at 13-

16.) “Recordkeeper” is the shorthand term for a vendor who provides recordkeeping

services, and payment for such services are designated as “recordkeeping” or

“administrative” fees.

       During the Class Period, the Plans’ recordkeeping services were provided by

TIAA28 and Vanguard; Prudential also serviced only the Medical Plan until that

Plan’s consolidation to a single recordkeeper in 2013 (at which time it was

eliminated). (See, e.g., Rezler Decl. ¶¶ 20-31.) In 2013, TIAA became the sole

service provider to the Medical Plan. (Meagher Decl. ¶ 45; Petti Decl. ¶ 30; see also

DX532; DX533.) Until May 2018, both Vanguard and TIAA provided services to the

Faculty Plan: Vanguard provided recordkeeping services for the Vanguard

investment options, and TIAA provided recordkeeping services for the TIAA




28As of December 1, 2009, $2.41 billion of the Plans’ combined $3.01 billion in assets were in TIAA
funds and annuities. (PX128 at 4-5.) As of September 30, 2017, $2.8 billion of the Faculty Plan’s
$4.1 billion assets were in TIAA funds and annuities, and all (100%) of the Medical Plans $3.6 billion
in assets were in TIAA funds and annuities. (PX959 at 30-31.) TIAA’s services included investment
and savings advice to participants at no additional cost by TIAA. (Chittenden Decl. ¶¶ 85-109;
Halley Decl. ¶ 31.) TIAA’s website provided content, videos, and tools on topics such as saving for
retirement, building a legacy, and living well in retirement. (Chittenden Decl. ¶ 102.) TIAA also
provided financial education webinars on several topics, such as the basics of investing, asset
allocation, staying on track in a volatile market, and receiving retirement income. (Id.) Likewise,
Vanguard’s recordkeeping fees included services such as participant calls, participant education, and
quarterly summary participant statements. (Halley Decl. ¶ 32; Heming Dep. Designation 44:4-
47:12.)
                                                     18
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investment options. In May 2018, the Faculty Plan eliminated Vanguard as a

recordkeeper and consolidated to TIAA as the single vendor. (Rezler Decl. ¶ 56;

DX520 at 5.)

       Like a number of large 403(b) plans, the NYU Plans pay recordkeeping fees

by way of “revenue sharing.” In a revenue sharing arrangement, a portion of

investment earnings are used to pay the fund’s expenses. Participants do not “write

checks” for such fees; rather, fees are deducted automatically. (Halley Decl. ¶ 24;

Rezler Decl. ¶¶ 23-24; Wagner Decl. at 27-28.) See also Tussey v. ABB, Inc., 746

F.3d 327, 331 (8th Cir. 2014) (“Revenue sharing is “a common method of

compensation whereby the mutual funds on a defined contribution plan pay a

portion of investor fees to a third party.”).

       D.      The Role of Annuities in the Plans

       403(b) plans may be set up to pay out a stream of income at retirement. In

order to fund this future income stream, participants may elect to contribute to an

annuity. Most Plan participants have elected to do so, and the amount of assets

invested in annuities constitutes a sizable majority (three quarters) of the Plans’

assets under management. Annuities are established through contracts (referred to

as “annuity contracts”) between participants and the investment entity (for

instance, TIAA). Annuity contracts may be between individuals and the investment

entity or on a group basis; they may also provide for “fixed” or “variable” payouts.



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          Here, the individual annuities are contracts issued in a Plan participant’s

name; the annuities guarantee periodic payments at retirement, determined on the

basis of premium payments and credited interest or investment earnings during a

participant’s working years. (Chittenden Decl. ¶¶ 23-25; Wagner Decl. at 6.)

Unlike mutual funds, a fixed annuity is considered to be an insurance product. An

institution offering annuities (such as TIAA) has to maintain reserves to fund its

future obligations.

          E.    Background on the Committee29

          In the fall of 2007, NYU determined that a Retirement Plan Committee (the

“Committee”) should be formed to provide “consistency and clarity in plan

governance.” (Meagher Decl. ¶ 10; Dorph Decl. ¶ 4; PX462.) The Committee was

established effective June 1, 2008. (Meagher Decl. ¶ 12; Dorph Decl. ¶ 5; PX533 at

2-5.)30

          The Committee has nine members who hold employment positions with NYU:

the NYU Chief Investment Officer, the NYU Senior Vice President of Finance, the




29 From the time of its creation until the end of 2017, the Committee met approximately once per
quarter; meetings often lasted about two hours. (See, e.g., PX45 at 7; PX1209 at 1.) The Committee
met forty-three times, twenty-five of which occurred in the six years preceding the filing of the
Complaint on August 9, 2016.
30 Prior to 2009, employers with 403(b) plans were protected by Department of Labor (“DOL”)

regulation (the “Safe Harbor”), under which 403(b) plans were treated as exempt from ERISA if
employers limited their administrative involvement. (Wagner Decl. at 7.). However, the 2009 IRS
regulations required tax-exempt employers to assume a deeper involvement in 403(b) plan
administration. (Id.) 403(b) plans no longer qualify for the DOL Safe Harbor. (Id.)
                                                   20
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NYULMC Senior Vice President of Finance, the NYU Langone Medical Center

(“NYULMC”) Controller, the NYU Vice President of Human Resources, the

NYULMC Senior Vice President of Human Resources, the NYU Director of

Benefits, the NYULMC Director of Benefits, and the NYU Provost or his/her

designee.31 (PX533 at 3.) In addition, the NYU Director of Benefits and NYULMC

Senior Vice President of Human Resources were designated as co-chairs, and the

Committee was allowed to appoint a secretary. (Id.)

       In February 2009, the Committee decided to engage Cammack as an

investment advisor to help with management and monitoring of the financial

aspects of plan management, including evaluating, selecting, and managing the

Plans’ recordkeepers as well as advising them on the selection and monitoring of

plan investments. (DX554 at 1-2; see also Meagher Decl. ¶¶ 16-17, Rezler Decl.

¶¶ 6-7, 9.)32




31 Some of the positions identified in the Committee’s original charter changed over time. (Sanchez
Decl. ¶ 7, n.1.) Currently the Charter designates the following members: (1) NYU Associate Vice
President, Global Compensation and Benefits; (2) NYU Chief Financial Officer; (3) NYU Chief
Investment Officer; (4) NYU Provost; (5) NYU Senior Vice President of Human Resources; (6)
NYULMC Senior Director of Benefits; (7) NYULMC Senior Vice President of Finance; (8) NYULMC
Senior Vice President of Human Resources; and (9) NYULMC Vice President for Finance. (PX518;
Sanchez Decl. ¶ 7, n.1.)
32 The record is not clear as to when Cammack initially began advising the Committee. The minutes

for the Committee’s February 4, 2009 meeting indicate that an RFP for an outside investment
advisor had been issued and that Cammack had been selected, but the minutes for the October 8,
2008 meeting—four months earlier—indicate that the Committee was already discussing
Cammack’s role. (PX476 at 1.)
                                                    21
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      F.     Quarterly Meetings

      During the Class Period, Cammack provided the Committee with quarterly

updates on various financial aspects of the Plans. (See, e.g., PX34, PX36, PX43,

PX44, PX530, PX1073, PX1093, PX1107, PX1294, PX1314, PX1390, PX1676.) Its

reports were typically distributed to all Committee members one week before a

meeting. The evidence at trial supported receipt and review of these reports by

Committee members. (Halley Decl. ¶ 10; Meagher Decl. ¶ 20; Rezler Decl. ¶ 12; see

also DX456-DX521 (the “Reports”).) At the meetings, and prior to making final

decisions, Committee members asked questions about the information Cammack

provided and its recommendations. (Tr. at 372:21-373:17, 424:8-19, 425:1-18,

1152:20-1153:20.) The evidence supports the Committee having made decisions

based on adequate investigation and independent decisionmaking.

      Cammack’s quarterly reports (referred to as “due diligence reports”),

reviewed, inter alia, the performance of investment options. Its analyses included

recommendations as to when the performance of a fund is sufficiently concerning

that it has become a candidate for placement on a list established for additional

scrutiny and monitoring (the “Watch List”). (Rezler Decl. ¶ 10.) Cammack’s

analyses included comparisons of funds’ performance against peer groups as well as

benchmark indices; the analyses also set forth each fund’s risk-adjusted return, fees




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in comparison to peer funds, portfolio manager tenure, and Morningstar33 ratings.

(Rezler Decl. ¶¶ 11, 15.) The reports additionally included: reminders as to

members’ fiduciary duties, including their duty to ensure the “plan is competitive,

meets the needs of participants and complies with ever-changing regulatory

requirements”; asset allocation, including the amount allocated to TIAA traditional

accounts, the TIAA Real Estate Account, and the CREF Stock Account; expenses; a

financial market overview; an overview of investment options; industry trends; and

regulatory updates. (See, e.g., the Reports (DX456-DX521).)

          During the Class Period, the Committee’s quarterly meetings tracked many

of the topics in the Cammack reports included discussions on topics that included

review of investment options and performance, recordkeeping and other fees,

overviews of fiduciary responsibility, (see, e.g., PX478; PX1303); streamlining the

fund lineup, (see, e.g., PX480); converting to lower-cost share classes, (see, e.g.,

PX368; PX1331); amendments to the Committee charter, (see, e.g., PX380); and

reviews of the differences between certain annuity contracts and more recently

available annuity offerings, (see, e.g., PX662; PX959).

          In 2011, and annually thereafter, the Committee approved an Investment

Policy Statement (“IPS”) that it used in connection with decisionmaking with

respect to fund options. (Tr. at 1005:8-17; Meagher Decl. ¶ 69.) The IPS sets forth




33   Morningstar is commonly used for independent investment research and analysis.
                                                     23
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criteria for evaluating funds, how often funds are to be reviewed, and Cammack’s

responsibilities. (Rezler Decl. ¶ 14; Surh Decl. ¶¶ 15-16; Meagher Decl. ¶ 69; Halley

Decl. ¶ 16.)34

       G.        Trial Testimony Regarding Committee Meetings and Processes

       Five current and former Committee members testified at trial: Margaret

Meagher, Nancy Sanchez, Patricia Halley, Tina Surh, and Martin Dorph. Mark

Petti, who attended many meetings but was not a voting member, also testified. In

addition, Linda Woodruff (a Committee member) and Susanna Hollnsteiner (not a

Committee member) testified by deposition designation. (ECF No. 283-1.)

       Since the Committee’s inception, Meagher has been one of its two co-chairs.35

The second co-chairs were, at various times, Linda Woodruff, Patricia Halley, and

others. Meagher’s testimony was concerning.36 She made it clear that she viewed

her role as primarily concerned with scheduling, paper movement, and logistics; she

displayed a surprising lack of in-depth knowledge concerning the financial aspects




34 At trial, plaintiffs argued that the Committee failed to approve or use an IPS, and that such
failure evidences an imprudent process. This assertion is incorrect. While the IPS was not formally
signed, the evidence at trial supports that it was in fact adopted and used throughout the Class
Period.
35 Meagher has been employed by NYU since 1989 and has been the Senior Director of Benefits for

NYU Langone since December 2009; prior to that position, she was the Senior Director of Benefits at
NYU Washington Square. (Meagher Decl. ¶ 1.) Her job responsibilities include the “day to day
operation” of the Medical Plan. (Id. ¶ 2.)
36 The Court finds that Meagher does not have the depth of knowledge appropriate to oversee a plan

the size of the NYU Faculty and Medical Plans. For example, she was unable to state which Plan
was bigger, even though the Faculty Plan has (and always has had) thousands more members, and
she was uncertain of whether there was a difference in fees between the Plans.
                                                    24
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of managing a multi-billion-dollar pension portfolio and a lack of true appreciation

for the significance of her role as a fiduciary. In a number of instances, she

appeared to believe it was sufficient for her to have relied rather blindly on

Cammack’s expertise. As a matter of law, blind reliance is inappropriate. See In re

Unisys, 74 F.3d 420; Bussian, 223 F.3d 286. For instance, she testified that it was

entirely appropriate for her, as well as the other Committee members, to rely upon

Cammack to determine the reasonableness of fees and that she did not do anything

to test the reliability of their information. (Tr. at 126:13-128:8.) She bluntly

testified that “[i]t’s not my job to determine whether the fees are appropriate” for

the Plans. (Id. at 126:3-9.)

       Meagher’s supervisor, Sanchez,37 also a Committee member, was similarly

unfamiliar with basic concepts relating to the Plans, such as who fulfilled the role of

administrator for the Faculty Plan. (Id. at 368:8-374:11.) When asked about her

inability to remember Plan details, Sanchez responded that she has a “big job”

(referring to her human resources role, not her Committee membership) and that

her role on the Committee is one of many responsibilities she has. (Id. at 386:5-

387:24.) This suggested that Sanchez does not view herself as having adequate

time to serve effectively on the Committee.




 Sanchez is the Senior Vice President and Vice Dean, Human Resources and Organizational
37

Development and Learning of NYU Langone Health (i.e., the “chief human resource executive for the
NYU Langone Health System”). (Sanchez Decl. ¶¶ 1-2.)
                                                  25
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       Sanchez further testified that she did not “know enough about variable

annuities to be able to comment on whether they should be in these plans,” and she

could not recall whether there were “specific underperformance metrics or

thresholds that have to be triggered for a fund to be put on the watch list.”38 (Id. at

368:8-374:7.) When asked who the plan administrator was, she responded, “I don’t

review the plan documents. That’s what I have staff for.” (Id. at 383:1-6.)

Specifically, she noted that Meagher is the “one that reviews the plan documents for

[her].” (Id. at 384:19-385:1.) However, as noted, Meagher—Sanchez’s direct

report—also failed to demonstrate a firm grasp on these documents. (Meagher and

Sanchez, of course, each have a vote in Committee decisions.)

       This under-preparedness was not limited to just these two Committee

members. Linda Woodruff, who was Meagher’s co-chair during 2010-2012, testified

that did not know whether NYU was a large plan relative to others in the United

States, (Woodruff Dep. Tr. at 81:11-1939), and she could not recall the TIAA Real

Estate Account at all, (id. at 274:2-16)—even though it was discussed at multiple

meetings at which she was in attendance and was on the Watch List during her

tenure, (see, e.g., PX375, DX569). Martin Dorph, a Committee member until July

2017, testified that he did not even know whether he was, at the time of trial (in



38 Sanchez’s statements during her deposition were admissible at trial as opposing party statements
under Federal Rule of Evidence 801(d)(2) were used for the purpose of impeachment.
39 The Court relies on certain designated deposition testimony, portions of which were objected to by

one or more parties. The Court overrules those objections.
                                                     26
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April 2018), still a member of the Committee—and thus whether he bore a fiduciary

responsibility to thousands of NYU participants. (Tr. 1304:3-9, 1311:3-6, 1312:8-15,

1338:11-1339:21.)40 After the Court questioned how he could be unaware of his

membership status, he endeavored to learn; the next day at trial he reported that

he was in fact no longer a Committee member. (Tr. at 1338:11-1339:21.)41

        Several Committee members stated that they did not independently seek to

verify the quality of Cammack’s advice; rather, they simply relied on it. (See, e.g.,

Tr. at 1014:2-10; Woodruff Dep. Tr. at 90:10-91:12, 180:6-13.)




40 Dorph, who is now Executive Vice President at NYU, previously served as NYU’s Senior Vice
President for Finance and Budget; through this position, he held a seat on the Committee. (Dorph
Decl. ¶ 1; PX191.) However, between September 2007 and November 2013, he attended only sixteen
of twenty-six meetings. (Tr. at 1341:8-24.) He missed meetings for a full year and a half, from May
18, 2009 to September 23, 2010. (Id. at 1304:10-18.) After this prolonged absence, he attended
meetings only intermittently, (Id. at 1308:17-25), and he never attended a meeting after November
25, 2013; instead, he designated a representative pursuant to the Charter, (Dorph Decl. at ¶ 7). He
testified that he “had a very busy schedule” and that he “didn’t review all of the materials,” but did
so only on occasion. (Tr. at 1305:19-1306:2.)
41 Additionally, the Court heard from two witnesses who attended many meetings but were not

voting members of the Committee. Mark Petti is NYU’s Associate Director of Retirement Plans and
Global Benefits. (Petti Decl. ¶ 1.) He is not a voting member of the Committee, though he has
attended meetings since May 17, 2012 and oversees various aspects of the Faculty Plan’s
administration. He advised the Committee on, inter alia, administration matters and compliance; he
also serves as one point of contact for vendors. (Id. ¶ 7.) He appeared knowledgeable on the areas
for which he is responsible.
         Susanna Hollnsteiner—who testified by deposition designation only—began working at NYU
in April 1989; she retired on March 1, 2017. (Hollnsteiner Dep. Tr. at 7:3-23.) She began as a
Manager for Retirement Plans and Health and Welfare Benefits, and in 2001, she became Manager
for NYU’s Retirement Plans only. (Id. at 8:17-9:18.) In this capacity, she reported to Meagher. (Id.
at 21:6-10.) At that time, she also gave up her supervisory duties. (Id. at 9:15-18.) She testified that
she was “there more as a subject-matter expert” for the benefit specialists, but that specialists no
longer reported to her. (Id. at 10:20-12:20.) She was not a member of the Committee, but she
attended many meetings during her tenure.
                                                      27
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       In contrast, Tina Surh, who served as NYU’s Chief Investment Officer

(“CIO”)42 and a Committee member from 2010-2014, “questioned [Cammack’s]

recommendations all the time.” (Tr. at 365:16-25; Surh Decl. ¶¶ 3-4.) Surh

appeared to be very knowledgeable in the area of investing generally. She attended

a majority of Committee meetings held between 2010-2014. Surh testified that she

remembers “speaking up a lot beyond what’s contained in the minutes . . . many

more times than two times over the course of [her] tenure . . . .” (Tr. at 1133:12-22.)

As the CIO, Surh saw her role as providing “specialized knowledge relating to

investing” to the Committee. (Id. at 1155:11-1156:3.) She testified that she

“questioned [Cammack] and discussed . . . the basis for their views” on the Plans’

investment options. (Id. at 1154:17-23.) Outside Committee meetings, Surh read

plan material prospectuses and met with portfolio managers at TIAA as well as

TIAA’s CEO, Roger Ferguson, who would update her on TIAA’s progress and

increasing efficiency. (Id. at 1153:7-22.) She also met with Cammack team

members to discuss general market trends and investment options as well as

specifics around NYU’s IPS. (Id. at 1154:1-16.)

       While the Court finds the level of involvement and seriousness with which

several Committee members treated their fiduciary duty troubling, it does not find




42Over the Class Period, several people served as NYU’s CIO: Maurice Maertens, Tina Surh, Martin
Kelly, and Kathleen Jacobs. (Tr. at 367:7-377:16.) Surh was the only one of these individuals to
testify at trial.
                                                  28
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that this rose to a level of failure to fulfill fiduciary obligations. Between

Cammack’s advice and the guidance of the more well-equipped Committee members

(such as Surh), the Court is persuaded that the Committee performed its role

adequately.43 As discussed below, the evidence does not support a failure or loss

with regard to recordkeeping fees, or with regard to the two Plans investment

options at issue here.

IV.     RECORDKEEPING FEES

        Plaintiffs’ first claim is that NYU breached its duty of prudence with regard

to recordkeeping fees. According to plaintiffs, the breach arose from the following

actions or inactions:

            (1) A failure to conduct a competitive RFP process that could have driven

                fees down;

            (2) A failure to engage in a timely and reasoned decisionmaking process to

                consolidate the two recordkeepers each Plan had into a single

                recordkeeper for each Plan; and

            (3) Use of uncapped revenue-sharing to pay recordkeeping fees led to

                improperly high payments.




43As discussed below, plaintiffs also fail to demonstrate loss to the Plans as these result of an alleged
breaches of fiduciary duty. While loss is not required to show that a breach of the duty of prudence
occurred, the lack of loss does suggest that there was not some obvious danger to the Plans that the
Committee failed to recognize, and therefore no recovery is appropriate.
                                                       29
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      According to plaintiffs these actions or inactions resulted in an overpayment

by (or loss to) the Plans in the amount of $25,818,880 for the Faculty Plan and

$17,074,702 for the Medical Plan. As discussed below, the Court finds that

plaintiffs have failed to prove that the Committee acted imprudently with regard to

recordkeeping fees. The evidence supports that during the Class Period, the

Committee prudently managed its recordkeepers: it ran prudent RFP processes,

was able to obtain lower fees for the Faculty Plan when consolidation was

impractical (as discussed further below), and it consolidated recordkeepers for the

Medical Plan (and, in 2018, the Faculty Plan). In addition, plaintiffs have not

proven that the allegedly imprudent actions/inactions resulted in losses.

      A.     Recordkeeper Consolidation

      As of 2009, each Plan had multiple recordkeepers: the Faculty Plan had TIAA

and Vanguard, and the Medical Plan had those two vendors along with Prudential.

(See Tr. at 312:11-25, 1223:22-24.) Early on, the Committee began discussing

whether to consolidate recordkeepers, so that each Plan would have only one.

Consolidation may lead to lower recordkeeping fees. However, recordkeepers may

offer a variety of collateral services to participants which also have value. Thus,

any examination of fees needs to account for total value—that is, both

recordkeeping and collateral services. Finally, when reviewing a recordkeeping

vendor’s RFP response, a fiduciary needs to examine both fees, the services offered,

and total value. The Committee performed this holistic review appropriately.
                                             30
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        Over a period of several years, the Committee issued several RFPs regarding

recordkeeping services. Plaintiffs have argued that the RFP process was generally

and specifically infirm and inadequate. The Court finds otherwise. In connection

with the RFPs the Committee issued, a persistent criticism was that the RFPs only

sought bids for a portion of the asset base. According to plaintiffs, this prevented

potential vendors from seeing and contemplating the full opportunity, thereby

driving further price concessions. However, as discussed below, defendant argues

that consolidation of recordkeepers was simply not possible for assets held in TIAA

annuities, which constituted three quarters of the Plans’ assets.44

        The evidence at trial supports defendant’s contention that technical and

other requirements prevented immediate consolidation of the Faculty Plan. Under

the circumstances, the Committee ran an appropriate RFP process both in terms of

number and with regard to the asset base up for bid.

        Embedded in plaintiffs’ overall “failure to consolidate to a single

recordkeeper” argument are the assumptions that (1) a single vendor is always in

the best interests of plan participants, and (2) consolidation necessarily results in

lower overall fees. The record is not supportive. In this case alone, administrative

fees for the Faculty Plan (which had two recordkeepers throughout the Class




44 At trial, the parties referred to the TIAA annuity portion of assets as amounting to “two-thirds” of
the Plans’ total assets. In fact, $675 million out of $3.1 billion amounts to just less than one quarter
of total assets.
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Period) were actually lower than for the Medical Plan (which had one recordkeeper

as of 2013). (Wagner Decl. at 29-30.) In any case, even assuming that a single

recordkeeper might have resulted in lower fees, the Court is not persuaded that the

Committee was imprudent for failing to consolidate the Plans sooner.45

       A principal point plaintiffs made at trial was that on a number of occasions

spanning several years, Cammack advised the Committee that consolidating

recordkeepers would result in savings. (See, e.g., PX972 at 8; PX480 at 1; PX463 at

2-3; PX976 at 1; PX235 at 4; PX504 at 4; PX368 at 3; PX9 at 7; PX971.) For

example, in its report dated June 14, 2010, Cammack listed certain advantages of

consolidation to a single vendor arrangement. (PX1248 at 10-13.) These included,

inter alia: increased purchasing power resulting in lower cost investments; ease in

the administrative burden; simplification of compliance costs; enhanced control of

NYU over assets; and more efficient fiduciary monitoring. (Id. at 11.) On July 14,

2010, Cammack provided a report focused solely on vendor consolidation, which

added details on TIAA-CREF pricing according to the 2009 RFP. (DX462 at 10.) A

similar report was provided on September 23, 2010, (PX598), and in November

2010, (DX465). In December 2010, Cammack’s report noted:



45It is also notable that the majority of TIAA’s largest two hundred clients use multiple
recordkeepers. (Chittenden Decl. ¶ 45.) Of the clients that have consolidated to a sole recordkeeper,
the overwhelming majority chose to consolidate with TIAA as their sole recordkeeper. (Id.) Two of
Cammack’s three relevant clients in 2011 employed a multiple-recordkeeper arrangement at that
time; as of 2016, six of thirteen relevant clients employed a multiple record-keeper arrangement.
(Rezler Decl. ¶ 58.)
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                It is extremely difficult, if not impossible, to effectively
                 manage the existing multi-vendor arrangement while
                 meeting the compliance requirements of the regulations cited
                 previously.
                Multi-vendor arrangements are not cost-efficient, as vendors
                 are forced to compete for assets contributed to the plan, and
                 therefore cannot offer lower cost fund options or lower
                 administrative expenses (higher fees cause participants to
                 realize lower investment returns).
                The arrangement requires plan participants to follow an
                 unnecessarily complicated process if they want to move
                 account balances from one investment with one vendor to
                 another vendor.
                Many functions, such as loan processing and new participant
                 enrollments, cannot be fully automated online as no single
                 vendor has all required information.
                Participant communications for newly eligible participants
                 and educational campaigns for all active participants are
                 extremely difficult to coordinate across multi-vendor
                 programs.

(PX232 at 4.) The same report stated that the “disadvantages to consolidating the

program to a single vendor are few,” but included: a disruption to participants using

Vanguard or Prudential, a possibility that employees would view it as a “take

away,” and considerable work for the NYU benefits team. (Id. at 7.) A similar

report was issued the following month. (PX246.)

      There is no evidence that in making its recommendations in favor of

consolidation, Cammack considered: (1) certain technical issues pertinent to

consolidation of the Faculty Plan; or (2) that over three quarters of the Faculty

Plan’s assets were in TIAA annuities that only TIAA had any experience

recordkeeping (that is, literally no other vendor had ever recordkept TIAA

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annuities). Thus, the Court does not view the existence of the Cammack

recommendations, and any failure to follow those recommendations, as strong

evidence of imprudence. Indeed, it demonstrates Committee decisionmaking

independent of Cammack.

       Recordkeeper consolidation at an institution such as NYU is a complex and

time-consuming process. (Meagher Decl. ¶ 42; Dorph Decl. ¶ 18; Petti Decl. ¶¶ 25-

28.) It requires significant planning and a long, detailed process involving

coordination of vendors and the plan sponsor, as well as a detailed rollout plan.46

(Meagher Decl. ¶ 42; Dorph Decl. ¶ 18; Petti Decl. ¶¶ 25-28.) This is in addition to

any technical systems reconfiguration that has to be made and tested for new or

changing file interfaces. (Meagher Decl. ¶ 42; Dorph Decl. ¶ 18; Petti Decl. ¶¶ 25-

28.) A move to consolidate retirement plan vendors requires a substantial amount

of organizational resources in technology, time, personnel, and money. (Meagher

Decl. ¶ 42; Dorph Decl. ¶ 18; Petti Decl. ¶¶ 25-28.)

       The evidence at trial persuasively demonstrated that, unlike the Medical

Plan, the Faculty Plan was subject to administrative and technological issues that

made a switch to a single recordkeeper practically quite difficult. In and around



46The rollout plan would include drafting detailed notices and communications to participants,
negotiation of legal agreements, disruption of plan operations as a result of the need to temporarily
freeze contributions, distributions, loans, changes in investment elections, a blackout period with
applicable notices to participants, fund mapping (to the extent that is possible), reconfiguration of
existing support systems, default investment processes and multistage communication to plan
participants, all with appropriate review and auditing of implementation.
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2008-2010, NYU Washington Square (the employees of which utilize the Faculty

Plan) was in the midst of a number of human resources and technological system

switchovers; NYU Langone (the employees of which utilize the Medical Plan) was

not. Credible testimony at trial supported IT concerns as a significant factor the

Committee considered in determining whether or not to go to a single record

keeper.47 As Petti testified:

       in order to implement a single-record keeper process, there needed to
       be a facility that was actually implemented and so the underlying
       resources, the underlying technology, the underlying support by the
       university in order to be able to do that. And so in order to successfully
       implement a single-record keeper process, the university has to provide
       the resources and make them available in order to make it a successful
       implementation.

(Tr. at 442:6-13.)

       In 2008, Washington Square (for the Faculty Plan) was beginning the

complex process of updating multiple computer systems and programs at the

University, including updating and modernizing all of NYU’s systems for payroll,

finance, student records, and human resources. (Dorph Decl. ¶ 15; Tr. at 535:16-

21.) A series of major system implementation projects followed. (Dorph Decl. ¶ 15.)

The new human resources (“HR”) operating system “went live in May 2014,” but

implementation was not complete until 2015. (Tr. at 1364:2-8.) The result—which



47Plaintiffs assert that the lack of reference to technical issues in the Committee minutes means it
was not a material issue. The Court disagrees. Rather, the Court credits the CFO’s (Dorph’s)
testimony in which he described his knowledge of the issue and a technical presentation made to
individuals who sat on the Committee. (See generally Tr. at 1358-1361.)
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took several years—was one system for all of the university’s HR needs. (Id. at

535:16-21.) It is clear that the technological issues at Washington Square were a

very real concern on which NYU spent significant time and money.48 (These

problems did not exist at Langone (i.e., for the Medical Plan), which had already

converted to a new HR system. (Id. at 1365:8-17.))

       The primary trial witness on the technical issues impeding recordkeeper

consolidation was Dorph, NYU’s then-CFO. Dorph’s testimony on this issue was

detailed, thorough, consistent, and credible. He testified that as of his arrival at

NYU in 2007, NYU’s finance system, human resources system, and student

information systems were “considered to be legacy systems, meaning systems of

previous generations of software.” (Id. at 1358:3-5.) He was “quickly confronted

with the question of . . . if and how, and how best to implement changes to the

systems.” (Id. at 1358:6-10.) His team thus conducted a “readiness assessment”

and hired an IT consulting firm to plan out the system changes. Dorph testified:

              What they basically told us in 2008 or whenever their report
       was issued is that we weren’t ready. There were a lot of steps we
       needed yet to take to be ready to implement changes to our systems.
       And it’s really important to understand when we talk about changes to



48 Plaintiffs argue that technical issues are an ex post justification for the failure to consolidate;
plaintiffs point to the absence of such concern reflected in the Committee’s meeting minutes. (Tr. at
154:7-155:17.) Woodruff, for example, served as a fiduciary for two years but was unable to recall
during her deposition why the Faculty Plan did not consolidate. (Woodruff Dep. Tr. at 332:5-336:4.)
However, the Court credits the evidence that the meeting minutes were not meant to reflect all
discussions and considerations by the Committee. (Halley Decl. ¶ 9; Surh Decl. ¶ 8.) The Court thus
finds, by a preponderance of the evidence, that technology concerns were a real issue for the
Committee and a major and sufficient reason that the Faculty Plan’s consolidation was delayed.
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      our system, we are not talking about unplugging one plug and putting
      in another plug. If you think about the HR system, there’s records of
      literally tens of thousands of people in the system, there are hundreds
      of users of the system, there’s processes that flow through not only the
      HR process itself but then connect to things like the finance system, to
      our budget systems and so forth.
              So when we talk about readiness, it’s not a question of just
      replacing one app with another app the way you do on your phone, it’s
      a question of do we have people in place who actually can take us
      through the process of figuring out what functionality we need, what
      software vendors can meet the functionality, what changes we need to
      make to the software to provide the functionality that we need to have
      to maintain our services to our employees. We asked that question
      with regard to all of the systems, including our HR system, and we
      were told we didn’t have the people and sophistication in place. We
      proceeded almost immediately to do that. One of the recommendations
      was to create something called a program services office who could
      help us navigate—think about it as a three-part triangle. There are
      the IT folks who plug things in and make them run, there are the
      business process owners, the people like the HR department or the
      accounting department and so forth who actually in some respects own
      the systems, and then the users who are out there in the university
      using the systems every day in schools or who might be finance officers
      in the schools and so forth.

(Id. at 1358:16-1359:22.) Thus, the NYU team sat down with stakeholders to

determine which systems would be updated and in what order. It brought in a

consultant to analyze “the finance system, the HR system, the student information

system. We also talked about the need for a data warehouse so we could get up-to-

date reports out of all of these systems.” (Tr. at 1360:8-11.) Dorph further testified:

             Just to make sure you understand the magnitude of what we’re
      talking about, the three systems at the end of the day that we replaced
      we probably spent between [$]80 and $100 million replacing these
      systems, I assure you software was only a small component of that.
      The need for all of this process, design, figuring out which software
      could actually do the best job, bringing on the consultants to help us
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      figure out how to connect systems to each other—just by way of
      example, when we actually put in the HR system . . . a couple of years
      ago, we had to create what we call interfaces to other systems. The HR
      system required 136 interfaces to other systems. I remember that
      number because we quoted it often because we were often explaining to
      people the complexity of our IT environment. So the software is a
      small piece of the overall system requirements.
             But at the core of this is the need to make sure that the
      functionality continues and is not interrupted. To go back to HR
      system, what was then the [Human Resources Information System]
      and the payroll systems, as I said, were legacy systems. They were old.
      They were repeatedly patched. They were systems that were
      connecting to all these other systems. And when you . . . don’t change
      that and then you start putting more functionality on top of it, you
      take the risk that things will go wrong.

(Id. at 1360:20-1361:18.) A change in recordkeepers would entail significant

coordination with and changes to the new systems being implemented; NYU

believed any recordkeeper switch could not be completed without risk of significant

errors or additional changes prior to completion of this global update of NYU’s

systems and technology. (Dorph Decl. ¶ 15; Meagher Decl. ¶¶ 22, 38.)

      In sum, the Court finds that these technical issues meant that consolidation

of the Faculty Plan prior to completion of the systems update was likely to result in

substantial participant disruption. Thus, until the other system updates were

completed, it would not have been prudent for the Committee to consolidate




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recordkeepers for the Faculty Plan.49 Certainly a decision not to consolidate at this

time was not imprudent.50

                1.      RFP Frequency

        Plaintiffs assert that more frequent RFP processes for both Plans would have

exerted competitive pressure on recordkeeping vendors, resulting in either a

reduction of fees by an existing vendor or a better deal altogether.51 According to

plaintiffs, the Committee was imprudent in issuing infrequent RFPs. The Court




49 NYU also appropriately considered that certain participants viewed Vanguard as a valuable
vendor and viewed the Vanguard website as having value. Elimination of Vanguard (if that was the
result of consolidation) thus constituted a loss of a valuable tool to some participants. (Tr. at 158:7-
160:14.)
50 As of trial, the Faculty Plan was converting to a single recordkeeper, a process which had taken

12-18 months. It has required:

        all sorts of tests of the software and the connections and the data flowing back and
        forth, we’ve had to change the way the actual calculations of these contributions are
        made and have had to test that numerous times, and we’ve had to spend a lot of time
        dealing with the employee communication issue, which, as we discussed earlier, . . .
        started, among other times, with the faculty around their benefits committees, but
        now is in the actual process of describing the changes themselves, how they can get
        access to . . . their retirement funds. When we are on the new sole recordkeeper
        system, to be honest, it’s— the complications, although they exist on both sides, it’s
        the Vanguard funds that people would be particularly upset about, because here was
        someone that used to have a Vanguard account, and even though Vanguard will still
        hold the funds, they will need to access information about those funds by going
        through a TIAA-CREF portal. We’ve already had people who have received
        communications and had suspicions that that meant we were trying to force them
        into TIAA-CREF. So it’s those kind of communications, to say nothing of the legally
        required ERISA communications, to say nothing of blackout periods and so forth that
        have to happen.
                 So bottom line, an incredibly extended period of time involving dozens upon
        dozens of people and consultants and software folks and so forth.

(Tr. at 1366:9-1367:10.)
51 Cammack recommended conducting an RFP every three to five years “to ensure continued

competitive pricing.” (PX477.)
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finds otherwise. The record at trial persuasively demonstrated that NYU had

particular needs, a particular technological environment, and infrastructure that

made the frequency of its RFP process during the Class Period adequate. In

addition, plaintiffs ignore that over the course of several years, NYU’s

recordkeeping fees consistently decreased as NYU obtained repeated rate

reductions.

       The Committee issued its first RFP in September 2009; this eventually

resulted in the Medical Plan’s consolidation of recordkeepers in March 2013. It did

not result in consolidation for the Faculty Plan. The Committee did not issue

another RFP for the Faculty Plan until 2016.52

       Vendors submitted detailed responses to the 2009 RFP. TIAA, which was

already a recordkeeper, itself submitted a substantial and detailed response. It

provided extensive answers to all questions and provided an expense projection.

(Chittenden Decl. ¶ 21; Rezler Decl. ¶ 21; DX21.)53 Vanguard and Fidelity likewise

provided detailed information in their response to the RFP, including extensive




52 That RFP resulted in the Faculty Plan’s consolidation with TIAA, which became effective in May
2018. (Tr. at 1189:5-9.)
53 TIAA also created a Microsoft Excel spreadsheet detailing an investment array for the plan that

included information regarding performance history versus benchmarks and standard deviation
versus benchmarks as well as all fees, including investment management fees, revenue sharing, and
the total expense ratio. (Rezler Decl. ¶ 21; DX21 (and following non-Bates labeled printout of
corresponding Excel document)).
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information detailing fees, fund performance, and fund expenses.54 (Rezler Decl. ¶

22; PX65; DX395.) Aside from price alone, the Committee was “sensitive to the

variation in service capability that existed among different vendors.” (Tr. at

1136:24-1137:2.)55

       At meetings in April and September of 2010 and January and March of 2011,

the Committee worked to finalize its decision. It reviewed the advantages of

consolidation with a single recordkeeper, highlighted the reduction of fees that

would result from consolidating with TIAA, and discussed streamlining the fund

lineup. (See, e.g., PX480, PX463, PX460.) They also noted that Langone (for the

Medical Plan) and the University (for the Faculty Plan) would need approval from




54 The 2009 RFP resulted in a range of price proposals: the lowest fee proposed was from Great West
at 13 basis points; TIAA and Diversified both bid 15 basis points; Vanguard bid 17 basis points; and
Fidelity bid 18 basis points. (Rezler Decl. ¶ 26; Chittenden Decl. ¶ 72; PX133; PX134 at 21.)
Prudential, Affiliated Computer Services (“ACS”), and Hewitt each declined to submit a proposal.
(PX134 at 8.) Fidelity also offered a flat dollar per participant fee of $80-85 per year, but this
excluded certain services such as employee education and counseling, which would be offered only on
a “fee for service” basis. (Id. at 21 n.2, 24.) The bidders’ proposed rates were based on an
assumption that not “all plans and all assets would be able to be mapped” to the respondent. (Tr. at
319:22-320:17, 1245:3-17; Rezler Decl. ¶ 16; PX134 at 21.) Rather, each expected to receive about
$675 million in assets, with the remainder staying with TIAA. (Each bidder’s specific assumption
was slightly different, though those differences are immaterial to the Court’s conclusion here.)
55 For example, Fidelity’s flat fee bid did not “necessarily include services—so for example, on-site

education, mailings.” (Tr. at 1247:5-15.) Thus, while certain vendors had lower rates than others,
the Committee wanted to ensure that participants would receive a high level of service. TIAA’s
services to NYU are included in the bundled recordkeeping price and is referred to as a “high-touch”
service model that includes, inter alia, an interactive online tool, a call center (which had 120
representatives trained on NYU’s Faculty Plan during its transition to NYU as sole recordkeeper),
and a minimum of 150 days per year of on-site education (e.g., one-on-one counseling and/or group
meetings on campus)—some of which is outside normal business hours at no extra cost. (Chittenden
Decl. ¶¶ 85-88, 95-98.) The Committee appropriately weighed and considered the entire array of
services and overall value presented by each RFP respondent.
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senior management before making a move (or “map”) to a single recordkeeper,

(PX463 at 3), and discussed moving assets between vendors or types of products (a

process generally referred to as “mapping”) as well as their understanding that

“NYU has the capability to move the assets at Vanguard to TIAA” but that “the

existing contract [i.e., the annuity contracts] with TIAA does not allow NYU to

move [TIAA] assets to another vendor.”56 (PX460 at 2.) (This “mapping” issue is

discussed further below.)

       On April 1, 2011, the Committee formally approved consolidation to TIAA as

a single recordkeeper for the Medical Plan. (PX481 at 1.) In 2013, the “Committee

determined that due to the complexities of a consolidation and the perceived

expectations of faculty and staff for the NYU retirement program, a move to vendor

consolidation [would] not be undertaken [for the Faculty Plan] at [that] time.”

(DX576 at 3.)

       In 2016, the Committee issued a second RFP for the Faculty Plan.57 (DX42.)

Four responses were received and Cammack crafted a detailed presentation

comparing them. (DX404 at 2, 8-32.) In response to this second RFP, TIAA offered

further reduced rates. (PX1366 at 1.) A key issue on which the Committee focused

was disruption to the Faculty Plan’s participants. (Petti Decl. ¶¶ 32, 36; Dorph




56The Court discusses this understanding in more detail below.
57Consolidation of the Faculty Plan to a single recordkeeper was raised on February 26, 2015, but
discussion was postponed to another meeting. (PX479 at 2.)
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Decl. ¶¶ 16-18.) It also considered its understanding that, because a significant

amount of the Faculty Plan’s assets were held in annuity contracts, there were

questions as to whether any vendor other than TIAA could or had the appropriate

expertise to recordkeep them. In this regard, the Committee either was unwilling

or believed it could not move participants’ investments in TIAA traditional

annuities, the CREF Stock Account, or the TIAA Real Estate Account to other

investments. (Halley Decl. ¶ 39.) In addition, the Committee also knew that no

other vendor had ever recordkept TIAA annuities on their own platforms. Thus, as

a practical matter, the Committee viewed TIAA as an entrenched recordkeeper for

its own annuity products—and that the concept of “consolidation” would need to

account for TIAA’s continued role. (Halley Decl. ¶ 40.) On February 23, 2017, the

Committee voted unanimously to move to TIAA as the sole recordkeeper. (DX592 at

1.)58 This decisionmaking process was considered, careful, and prudent under the

particular circumstances here.




58Plaintiffs also argue that both RFPs improperly favored TIAA, as evidenced by, inter alia, alleged
secret meetings or communication with TIAA by a Committee co-chair, Meagher. (Tr. at 188:22-
189:14, 190:24-191:23, 193:3-10, 194:9-196:25; PX831; PX845.) The evidence does not support this.
The Court has considered the evidence plaintiffs have proffered in this regard. While it might have
been more advisable for Meagher not to have communicated with TIAA at this time as she did,
ultimately the communications played no role in the decisionmaking process. Meagher was only one
vote and there is no indication that she could have or did sway the Committee’s decisionmaking on
recordkeeping fees based on her views of TIAA or influence potentially exerted by TIAA. TIAA was
selected after a fair review process. (See, e.g., PX128.)
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               2.      Fee Negotiations

       While plaintiffs assert that the Committee did not negotiate fee reductions

zealously enough, the record reflects a number of serious—and successful—efforts

by the Committee to reduce recordkeeping fees. As of 2018, both Plans’ fees for the

TIAA assets decreased substantially—from 19.9 basis points in 2008 to 3.0 basis

points for the Faculty Plan and to 4.0 basis points for the Medical Plan in 2018.

(Chittenden Decl. ¶¶ 70-84; Rezler Decl. ¶¶ 27, 33-34; Halley Decl. ¶ 25; PX477 at

1; DX529 at 1; DX592 at 1.) Vanguard’s fees for the Faculty Plan also decreased,

from 10.0 to 6.0 basis points. (DX144 at 2.)

       In addition, while the number of Plan participants and total Plan assets

increased during this same period, the amount of fees decreased.59 Indeed, at

several junctures, the Committee secured retroactivity for the lower rates it

secured, and participants received revenue credits.

               3.      The Portion of Plan Assets Available for Bid

       More than three quarters of the Plans’ assets are held in legacy TIAA

annuities, or about $2.4 billion of the $3.1 billion in Plan assets (as of 2009). In




59Between 2012 and 2016, for example, assets in the Faculty Plan increased from $1.98 billion to
$2.62 billion, and the number of Faculty Plan participants increased from 14,368 to 18,551. (DX48
at 2, 18; DX3 at 2, 19). However, in 2012, the total administrative fees for the Faculty Plan were
$2.88 million, (PX700 at 2), but in 2016, total fell to $2.10 million in 2016. (PX718 at 2.)
         Likewise, the Medical Plan’s assets grew from $1.43 billion to $2.02 billion (even though the
number of Plan participants fell from 11,876 to 8,560) between 2012 and 2016. (DX28 at 2, 18; DX4
at 2, 19.) However, the Plan’s total administrative fees fell from $1.90 million in 2012 to $1.49
million in 2016. (PX672 at 4; PX688 at 4.)
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connection with the 2009 RFP, the Committee requested bids for recordkeeping on

only the non-annuity assets, which amounted to $675 million (or less than one

quarter of total assets). Plaintiffs argue that limiting the RFP to non-annuity

assets was imprudent because it prevented competitive bidding on the fees for over

three quarters of Plan assets, thereby (according to plaintiffs) preventing potential

cost reductions. They contend that any recordkeeper could have recordkept the

TIAA annuities or, in the alternative, the legacy TIAA assets could have been

“mapped” (i.e., moved) to similar funds held by a different vendor. The Court

disagrees.

      Under the circumstances here, limiting the RFP to the non-annuity assets

was reasonable. A primary reason not to include the annuity assets in the RFP was

that they were maintained and funded by TIAA, and other entities lacked the

experience and ability to recordkeep such assets. As discussed below, the

preponderance of the evidence supports defendant’s position that TIAA annuities

have never been recordkept by a different vendor (anywhere, at any time), and that

they have only once (and under very different circumstances) been mapped to non-

TIAA funds.

                      i.   Background on TIAA Annuity Products

      TIAA annuities are insurance policies governed by contracts between TIAA

and individual participants; a plan sponsor is not a party to the contracts. The

annuity contract states that it is a “contract between you, as its owner (Annuitant),
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and TEACHERS INSURANCE AND ANNUITY ASSOCIATION OF AMERICA

(TIAA). No other person or institution is a party to this contract.”60 (See, e.g.,

PX731 at 5.)

          TIAA offers four types of TIAA traditional annuity contracts. The oldest, now

known as the Retirement Annuity (“RA”), limits withdrawals and transfers to ten

annual installments; while other annuities have more liquidity, the RAs have lower

total crediting rates. (Chittenden Decl. ¶¶ 23-24.) As April 2018, the RAs were still

TIAA’s largest contract type in terms of contributions, and there is no indication

that RA plans will be discontinued in the future. (Tr. at 587:1-16, 590:2-14.) TIAA

also offers a Supplemental Retirement Annuity (“SRA”); this contract is similar to

the traditional RA, but allows for lump-sum withdrawals without restrictions or

charges. (Chittenden Decl. ¶¶ 27-29.) Both RA and SRA contracts are individually-

owned contracts between an NYU participant and TIAA. (Id. ¶¶ 23, 27; Tr. at

596:16-18.)

          The third traditional TIAA annuity type is referred to as the Group

Retirement Annuity (“GRA”). (Chittenden Decl. ¶ 31.) Participants receive

individually-controlled certificates, enforceable directly against TIAA. (Id.) Like

the SRA, the GRA allows lump-sum withdrawals and transfers, though there are

limitations. (Id. ¶ 28.) Unlike the RA and SRA, within 120 days of termination of




60   While the annuity contracts changed over time, they always included some form of this language.
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employment, a participant in the GRA may take a lump-sum withdrawal, subject to

a 2.5% surrender charge. (Id. ¶ 32.) The same is true for yet another annuity type,

the Group Supplemental Retirement Annuity (“GSRA”). (Id. ¶¶ 34-35.) When

sponsors (such as NYU) offer these TIAA annuity contracts, TIAA requires that the

sponsor also offers the CREF Stock Account and CREF Money Market Account.

According to TIAA’s Chittenden, TIAA views these offerings as ensuring that

participants will have a minimum ability to diversify their retirement accounts.

(Other fund offerings determined by the sponsor may provide additional

diversification opportunities.) TIAA does not require that participants in TIAA

traditional annuities invest in these options. (Id. ¶ 38.)

      In 2005-2006, TIAA introduced two additional forms of annuity contracts—

respectively, the Retirement Choice (“RC”) and Retirement Choice Plus (“RCP”)

contracts. (Id. ¶¶ 39, 40; Tr. at 586:15-18.) Unlike TIAA traditional annuity

accounts, these are group contracts institutionally controlled by the sponsor.

(Chittenden Decl. ¶ 41.) For purposes of this case, the key difference between the

TIAA traditional annuities and these “group choice” annuities concerns the ability

to move (or “map”) the assets to another vendor or vehicle. With ninety days’ notice,




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a plan sponsor can elect to map assets over the course of sixty months without a

surrender charge. (Id.)61

                         ii.   Recordkeeping TIAA Annuities by Non-TIAA Vendors

       Plaintiffs first contend that the Committee should have anticipated an RFP

outcome in which some entity—that had never before recordkept TIAA annuities—

could have bid to recordkeep all assets (including the TIAA annuities) and won.

However, the evidence conclusively demonstrated that the “only firm that record-

keeps TIAA annuities . . . is TIAA.” (Tr. at 595:24-25.) At the very least, no other

vendor has any experience recordkeeping TIAA annuities.

       The most impressive witness at trial was a TIAA employee, Douglas

Chittenden.62 He acknowledged “the complexity associated with the TIAA product,

the vintages [referring to the dates of annuity offerings] that are available to you as

you save your money over time, the different mortality basis that you are able to

purchase annuity benefits under as you’re saving, [and] all the range of payout

options that are available . . . .” (Tr. at 596:1-5.)63 Similarly, Vanguard’s George



61 The NYU Plans do not and have never offered RC or RCP contracts. (Tr. at 470:17-471:12, 520:6-
521:4.)
62 Chittenden, an Executive Vice President at TIAA who oversees the institutional servicing and

relationship division, is extremely knowledgeable in the area of 403(b) and other retirement plans,
as well as on the pricing, substance, and mechanics of TIAA’s products and recordkeeping. (See Tr.
at 559:13-19; Chittenden Decl. ¶ 1.) His testimony was well-grounded, based on articulated facts,
consistent, and forthright.
63 Plaintiffs themselves offered consistent testimony. Plaintiffs’ own expert, Michael Geist, conceded

that while in his experience at T. Rowe price several of its seven university plans included TIAA
annuities, those plans required multiple recordkeepers. (Tr. at 705:2-706:7.) In other words, if T.
Rowe Price was going to recordkeep for a plan that offered annuities, the plan remained with (at
                                                     48
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Heming64 testified at his deposition that “Vanguard is not able to record keep the

TIAA annuities.”65 (Heming Dep. Tr. at 174:22-175:3.) Thus, he explained, NYU

would have had “to maintain a recordkeeping relationship with TIAA if they want

to keep [existing] annuities active.” (Id. at 175:20-23.)

       Simply put, on the record before the Court, no other vendor has ever

recordkept TIAA annuities; even if it were legally possible to have another vendor

do so, the Committee was not imprudent in preventing Plan participants from being

a vendor’s “guinea pigs” for whom it tries recordkeeping TIAA products for the first

time. Accordingly, the Court is not persuaded that the Committee acted

imprudently in limiting the asset base up for bid in the RFPs to non-TIAA annuity

assets.




least) two recordkeepers (so that someone else—likely TIAA—could recordkeep the annuities). (Id.
at 781:7-10.) When T. Rowe Price bid on a higher-education institution’s plan that had existing
annuities, T. Rowe Price would not bid to recordkeep for the annuities. Instead it would “propose a
different investment lineup,” (i.e., that “whoever is in annuities move their money from annuities to
something else”). (Id. at 723: 9-24.) If people wanted to keep annuities, T. Rowe Price “would not be
able to provide what they were asking for, with respect to those investments.” (Id. at 724:1-10.)
While they would be able to “do something,” it “wouldn’t necessarily have been automated. So it
would have probably required more manual work if you hadn’t built the infrastructure to do
something like that. . . . It just wouldn’t be as efficient.” (Id. at 704:16-705:1.)
64 While not intimately familiar with NYU’s Plans, Heming appeared to be very knowledgeable on

Vanguard’s services and abilities generally. He has been a principal at Vanguard for twenty years.
(Heming Dep. Tr. at 8:5-10.)
65 He elaborated that, based on his understanding, “TIAA doesn’t permit the annuities to be record

kept on any other . . . platforms but theirs. They haven’t opened up their architecture.” (Heming
Dep. Tr. at 175:7-11.)
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                        iii.   Mapping Assets to Different Funds

       Plaintiffs next claim that, even if a non-TIAA vendor would not be able to

recordkeep the TIAA legacy assets, the Committee should still have put all Plan

assets up for bid because legacy assets could have been moved or mapped to

different funds; these different funds could, then, be recordkept by a non-TIAA

vendor. The Court finds otherwise. The evidence demonstrates that TIAA annuity

assets have not previously been “mapped” into similar funds with a different

recordkeeper.66

       Defendant’s retirement plan expert, Marcia Wagner,67 testified that she had

never seen a situation where a plan sponsor moved assets out of TIAA annuities



66 As discussed, defendant asserts that the annuity contract, to which NYU is not a party, prevents it
from moving a participant’s assets without his or her consent. Plaintiffs counter that even if that is
true, ERISA’s duty of prudence and/or the Plan document supersede the annuity contract, such that
defendant was still obligated to map the assets to different funds. The Court need not resolve this
question; as a matter of fact, it was not imprudent to put only the non-legacy assets up for bid in the
RFP on the assumption that TIAA would continue to recordkeep the legacy annuities, as no other
vendor had ever done so.
67 Wagner was highly credible; the Court finds her qualified as an expert on retirement plan

processes. She provided opinions on the processes NYU followed after 2009 with respect to (i)
selecting and monitoring plan administrative service providers and reviewing their fees as well as
(ii) offering and monitoring the TIAA Real Estate Account and CREF Stock Account under the Plans.
In particular, she provided helpful information to the Court on industry standard processes during
the relevant time frame. Wagner has extensive experience designing and consulting with respect to
403(b) plans, including the types of 403(b) plans involved in this case. (Id. ¶ 2.)
          Wagner is the principal of The Wagner Law Group, which she founded more than twenty-one
years ago. (Wagner Decl. ¶ 1.) Her firm employs more than thirty lawyers, who collectively focus
exclusively on ERISA employee benefits and executive compensation. (Tr. at 1401:14-22.) She has
extensive experience designing and consulting on 403(b) plans. (Wagner Decl. ¶¶ 1-2.) She has
worked with dozens of 403(b) plan sponsors on their request for proposal (“RFP”) processes. (Id. at
1402:1-7.) Wagner’s experience includes (i) advice on the structure and establishment of plan
investment and administrative committees, (ii) counseling such bodies on the design of investment
menus and recommending the processes to be used for selecting investment options to be included
thereon, as well as monitoring their performance and expenses, (iii) preparing investment policy
                                                      50
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without a participant’s consent. (Tr. at 1418:3-8.) TIAA’s Chittenden agreed, and

testified that TIAA Traditional annuities could not be mapped out.68 (Tr. at 587:1-

3.) The “vast majority of [NYU] participants are invested in funds which NYU

cannot transfer.” (Id. at 1235:22-24 (Rezler testimony).) Even Geist, plaintiffs’

expert, could not recall a time when a “plan sponsor forced participants to move

their money from an RA contract to an RC contract.” (Id. at 885:10-13.)69 Geist




statements that allocate fiduciary responsibilities and provide guidance on the criteria and processes
involved in investment selection and monitoring, (iv) guiding plan committees on due diligence
processes for issuing requests for proposals relating to a plan’s engagement of recordkeepers and
other service providers and the information to be considered, decision-making process and
documentation recommended before making a final selection, (v) advising plan committees on the
criteria for evaluating the performance and fees of service providers, and (vi) attending meetings of
fiduciary committees to provide advice regarding issues arising in the performance of their duties.
(Id.) She has advised fiduciary committees, including committees responsible for large plans, on the
process and criteria to be used in the selection of recordkeepers. (Wagner Decl. ¶ 2.)
68 There was a single occasion on which TIAA mapped assets in certain money market accounts

without permission or voluntary participation by investors; this was due to “an opportunity because
of the very low interest rates to do things with the money market account when needed, if
applicable.” (Tr. at 677:19-678:9.) He explained:

       But there was a period of time when interest rates were so low and . . . the view was
       that people who held assets in the retirement plan in a money market account was
       not a good thing, because they were earning basically nothing on it, that on a one-
       time basis we went to the plan sponsor, said, look, if you want to do something
       proactively with these people's assets so that they, you know, don’t hold the money
       there for a long period of time when the prospects are so bleak, we can work with you
       to do that.

(Tr. at 678:14-21.) Those circumstances were not present here and thus, the Court does not find it
unusual that the Committee did not attempt a similar resolution.
69 Plaintiffs also claim that RA contracts are themselves imprudent, and that only RC contracts

should have been offered. However, plaintiffs concede that RC contracts have advantages and
disadvantages, and they also elicited testimony that the RC return or income guarantee—between 1-
3%—is lower than the RA guarantee.
         As Chittenden explained, TIAA does not view RC contracts as simply a better version of RA
contracts. When asked by the Court if the introduction of RC plans indicated the “death of the RA
plans,” he responded that “certainly some plans adopted RC,” but that the RA contracts “had a 3
percent guarantee, [which] looked appealing” to participants. (Tr. at 587-17:588-2.) He also noted
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recalled only one situation in which he was able to convince an institution to move

assets out of fixed annuities into other products; that institution was a high school

with a plan of only about $5 million in assets. (733:24-737:17.)70

        Accordingly, the Court finds that the RFP’s treatment of the legacy assets

was not imprudent for failing to allow for “mapping” to non-TIAA funds.71

        B.      The Committee’s Fee Negotiations Outside the RFPs

        Plaintiffs argue that the use of revenue sharing that was not capped at a

particular dollar amount was an imprudent way to collect fees. According to

plaintiffs, this arrangement allowed the overall collection of fees to exceed that

which was reasonable when calculated on a per-participant basis. Instead,

according to plaintiffs, if allowed at all, revenue sharing should have been capped at




that TIAA Traditional annuities are still being used by universities all over the country and that it is
likely still TIAA’s largest contract type in terms of contributions. (Id. at 587:-14.)
70 Specifically, the institution stopped new contributions into the TIAA annuities, but the assets

already in fixed annuities still could not be mapped to new accounts by the plan sponsor, (Tr. at
735:10-23); the plan would need to keep two recordkeepers unless it consolidated with TIAA, who
managed the annuities, (id. at 735:24-736:2.)
71 Plaintiffs also asserted that even if the assets in individual annuities were not mappable, NYU

should have “frozen” the existing accounts and encouraged participants to move assets to other
investments. They claim that this would have given the Committee leverage in negotiations to
secure a lower fee arrangement. However, the evidence in the record on this topic—of which there is
not much—does not support this assertion. Geist testified that he could not think of any plan where
T. Rowe Price “successfully convinced the plan sponsor to freeze their annuity product and move to a
T. Rowe Price investment lineup.” (Tr. at 736:16-20.) Additionally, Cammack’s Rezler testified that
even if the funds had been frozen, this would not have allowed them to be removed from the relevant
TIAA fund. (Id. at 1237:14-16.) The evidence in the record does not support the assertion that
freezing TIAA annuities would have been likely to lead to lower fees for the Plans. Additionally,
given the plaintiffs’ ongoing and rigorous negotiations regarding fees (discussed in greater detail
elsewhere), the Court is not persuaded that the Committee acted imprudently by not freezing—or
threatening to freeze—any TIAA funds.
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some amount that would translate into a specific per-participant fee of (for instance)

not more than $35 annually. The Court finds otherwise.

      In addition and along the same lines, plaintiffs argue that NYU acted

imprudently by failing to move away from revenue sharing altogether and instead

negotiate a flat per-participant recordkeeping fee (e.g., $35 per participant per year

instead of 10 basis points per year). The Court is also not persuaded, on the record

here, that a flat rate would have been a more prudent way to collect fees than

through revenue-sharing.

      Plaintiffs proffered Geist’s testimony in support of these positions. For the

reasons already discussed, the Court did not find Geist a reliable expert in this area

and does not rely on his testimony. But in all events, even his testimony was not

supportive of plaintiff’s positions. While he testified that, as of the mid-2000s, plans

were moving away from revenue sharing, (Tr. at 843:21-845:9), he also testified

that, as recently as 2010, 40-60% of big plans still used revenue-sharing models, (id.

at 850:15-853:16). Moreover, when he left T. Rowe Price in 2016, 25% or more of

large plans may still have been using revenue-sharing models. (Id.)

      In contrast to Geist, defendant’s expert, Wagner, provided reasoned,

factually-based testimony supportive of defendant’s position. She testified that it is

“extremely common” for 403(b) plans to price administrative services by basis points

of assets under management. (Id. at 1402:23-1403:5.) She further testified that it

is “highly uncommon” for pricing in 403(b) plans to be on a flat per-participant
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basis. (Id. at 1403:9-17 (emphasis added).) Furthermore, Cammack’s Rezler

testified credibly that with regard to Fidelity’s per-participant quote, the total fees

actually worked out to twice as much as a 15 basis point arrangement would have

cost in the first year.72 (Tr. at 1257:12-24.) He thus testified that in 2009-10, when

vendors began offering per participant flat dollar annual fees, their quotes were

often “in excess of the amount generated under the basis point model.”73 (Id. at

1257:6-16.)74

        In all events, the trial record here reflects due consideration of the

appropriate pros and cons and rejection of using a flat per-participant model.

(Halley Decl. ¶ 37.) For instance, the Committee considered a number of issues

related to paying for services on a flat per-participant basis, including whether they

thought the arrangement would be fair, given that a participant with a large

account balance might pay the same as a participant with a relatively small account




72 Recordkeepers build growth into a basis point pricing model (i.e., build in assumptions about how
quickly assets will grow); they cannot do this for per-participant fees and as a result, per-participant
arrangements can sometimes end up being more expensive. (Tr. at 1258:2-10.)
73 Cammack’s Rezler testified that this scenario was demonstrated by Fidelity’s 2009 RFP bid. (Id.

at 1257:16-24.) During the 2009 RFP, Fidelity submitted two proposed fee arrangements, an 18
basis points asset-based fee and an $85 per participant fee. (PX134; Tr. at 1257:16-20). However,
when Fidelity “supplied an analysis of how that would work out . . . that analysis showed that in
year one [Fidelity] would earn close to twice as much in revenue under the per participant
methodology as opposed to the basis point methodology.” (Tr. at 1257:16-24).
74 Plaintiffs also argue that as the Plans’ asset base grew, the cost to participants should have fallen,

as the cost of recordkeeping is the same regardless of the number of participants or their account
sizes. Thus, as the Plans’ assets grew, so did the revenue share that was paid to the recordkeepers
as fees. However, this fact alone does not render the model imprudent. The totality of
circumstances must be considered, as they were here.
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balance. (Id.) The Committee also inquired as to whether TIAA could charge for

recordkeeping services on a flat per-participant fee basis. (Id.) TIAA explained,

however, that flat dollar fees cannot be assessed against the TIAA and CREF

annuity account balances in the Plans. (Id. at ¶¶ 37, 48.)

       Accordingly, the Court is not persuaded that a revenue-sharing model itself

or the Committee’s choice to employ that model here was imprudent.75

       C.      Objective Prudence of Plan Fees

       Plaintiffs assert that a reasonable recordkeeping fee would have been

between $23-31 per year for the Faculty Plan and between $27-35 per year for the

Medical Plan (as opposed to what plaintiffs calculated the revenue share to have

amounted to: $140-270 paid for the Faculty Plan and the $152-274 paid for the

Medical Plan). (Geist Decl. ¶¶ 185.) However, plaintiff’s expert on this topic, Geist,

failed to provide adequate data to back his numbers up.76



75 Additionally, the required revenue rates for the Plans had no “cap”—that is to say, there was no
ceiling on the amount that any participant might pay. Plaintiffs assert that as assets under
management increase, a revenue-sharing arrangement without a cap on fees leads to an ever-
increasing dollar amount in fees paid to the recordkeeper. The preponderance of the evidence
demonstrates otherwise. The concept of “capped” versus “uncapped” fees matters only in a
theoretical sense; as assets under management increase, so may efficiencies, and a fiduciary can
thus negotiate to reduce the basis point charge. (Tr. at 1148:19-1149:3.) Arrangements where fees
are based on basis points but “capped out at a certain dollar maximum” are, at the very least, highly
unusual. (Id. at 1248:6-25.)
76 Additionally, Turki conducted a calculation to demonstrate the flaws in Geist’s numbers by

making three adjustments. (Turki Decl. at 7-8.) The Court found him highly credible. Turki he has
extensive experience as a damages rebuttal expert in ERISA matters.
         Turki’s first adjustment took into account that TIAA has disclosed to the Plans that
approximately 40% of the total Plan services expense dollar amount is allocable to “recordkeeping
services” as defined by DOL regulations. (Id.) Turki’s second adjustment is based on the TIAA
traditional annuity requiring separate recordkeeping, and as such, those recordkeeping fees should
                                                     55
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       Accordingly, plaintiffs fail to demonstrate by a preponderance of the evidence

that their proposed fee ranges were the only plausible or prudent ones—or, indeed,

that any comparable Plan has ever charged within that range. Plaintiffs thus have

not met their burden of proof as to damages for excessive recordkeeping fees.

Indeed, on a per participant basis in every year following the consolidation of the

Medical Plan with a sole recordkeeper in 2012, administrative fees for the Faculty

Plan were actually lower than for the Medical Plan. (Wagner Decl. at 30-31, 79.)

V.     MONITORING FUND OPTIONS

       Plaintiffs’ second claim of imprudence relates to monitoring the performance

of specific investment options. Plaintiffs assert that the Committee did not analyze

fund performance on a regular basis and did not timely remove two funds in

particular that allegedly underperformed. Plaintiffs also argue that the Committee

acted imprudently by allowing the Plans to include too many investment options.77

The evidence does not support these claims.




be subtracted from the total recordkeeping fees and considered separately. (Id.) Turki’s third
adjustment assumes “that any excessive annual fees should be allocated to Plan participants’
accounts and reinvested in the Plan.” (Id.) The Court agrees with each of these adjustments.
Adjusting for these three factors, Turki shows that recordkeeping fees paid by the Medical Plan for
assets other than the TIAA traditional annuity were less than Mr. Geist’s admittedly “hypothetical”
recordkeeping fees of $27 - $35 per participant/per year.” (Id.)
        Turki correctly concludes that the “Geist damages for the alleged excessive recordkeeping
fees are not predicated on a proper economic analysis, and when corrected for some obvious flaws do
not establish that the [Faculty Plan] or the [Medical Plan] paid excessive recordkeeping fees over the
period where the data are available.” (Id. at 8.)
77 The Court previously dismissed this argument as a stand-alone claim, Sacerdote 2017 WL

3701482, though it allowed in some evidence to the extent it went specifically to the Committee’s
process.
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       The evidence demonstrates that the Committee closely monitored the

performance of the investment alternatives offered in the Plans. (Tr. at 338:7-

339:19, 1152:20-1153:20; Petti Decl. ¶¶ 17-18; Surh Decl. ¶¶ 11-12; Halley Decl.

¶¶ 13-14.) Prior to each meeting, the Committee received and reviewed a detailed

report from Cammack that analyzed the investment options. In evaluating specific

funds, Cammack reviewed, inter alia, the fund’s performance against its peers’,

investment objectives and risk, and expenses. (See, e.g., DX456 at 50; PX34 at 45.)

One of the factors used by Cammack and the Committee to analyze the funds was a

widely-used measure of performance called “alpha,” which is defined as the

difference between the actual return and expected return. (Tr. at 1263:24-1264:9;

Rezler Decl. ¶ 15.)

       The Committee’s minutes reflect discussion of the investment performance at

numerous meetings, including those held on:

                  June 14, 201078;

                  March 21, 201179;

                  April 1, 201180;

                  June 9, 201181;




78 DX562 at 3.
79 PX460 at 3-4.
80 PX481 at 3.
81 PX375.

                                            57
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                   August 15, 201182;

                   November 14, 201183;

                   May 17, 201284;

                   September 4, 201285;

                   November 16, 201286;

                   February 22, 201387;

                   June 14, 201388;

                   November 25, 201389;

                   February 26, 201490;

                   May 22, 201491;

                   August 19, 201492;

                   December 11, 201493;

                   February 26, 201594;

                   June 9, 201595;




82 DX569 at 2-3.
83 PX472.
84 PX482 at 2-3.
85 PX382 at 2-3.
86 PX380 at 1-2.
87 PX467 at 2-3.
88 PX368 at 3.
89 PX458 at 2-3.
90 PX1240 at 2-3.
91 PX461 at 2.
92 PX49 at 1-2.
93 PX469 at 2-3.
94 PX479 at 1-2.
95 PX1303 at 2.

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                    September 15, 201596;

                    December 16, 201597;

                    March 2, 201698;

                    June 1, 201699;

                    September 8, 2016100;

                    December 12, 2016101;

                    February 23, 2017102;
                    May 24, 2017;103
                    September 7, 2017;104 and
                    December 11, 2017.105
       Cammack’s reports contain detailed information regarding the Plans and the

Plans’ investments, including summaries of the Plans’ total assets, summaries of

the Plans’ asset allocations (e.g., bond, money market, fixed income, large cap, small

cap, etc.), capital markets reviews and analyses, quarterly economic reports

(including discussion of equities, bonds, real estate markets, consumer sentiment,

energy prices, and expert predictions), and detailed analyses of the Plans’




96 PX484 at 2-3.
97 PX474 at 2.
98 PX1331 at 2.
99 PX471 at 2.
100 PX520 at 2-3.
101 PX519 at 2-3.
102 PX1366 at 2-3.
103 PX662 at 2-3.
104 PX959 at 2-3
105 PX962 at 2-3.

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investment alternatives (including managers, ratings, expense ratios, performance

against benchmarks on a quarterly, year-to-date, 1-year, 3-year, 5-year and 10-year

basis.) (Rezler Decl. ¶¶ 9-13, 15; Halley Decl. ¶ 15; Petti Decl. ¶ 23.)

       These same reports also included analyses of manager tenure, category

ranking, risk, risk adjusted return, net expense ratio, style drift, turnover ratio, and

Morningstar rating. (Rezler Decl. ¶¶ 11, 15.) The reports were prepared using

various software tools. (Tr. at 1263:15-23.) The software programs “filter[] in

information from thousands of funds that are available and that are being

used . . . by the plans that [Cammack’s] clients offer.” (Id. at 1263:20-23.)

       Cammack’s Rezler106 testified that the Committee asked questions of

Cammack regarding its advice, (id. at 1283:18-25), and that, on at least one

occasion, the Committee questioned the viability of a metric Cammack used to

analyze the investment options, (id. at 1284:1-12). The meeting minutes show that

the Committee “voted to accept all fund recommendations presented by Cammack.”

(See, e.g., DX589; PX519; DX517.) It rarely deviated, although on at least one

occasion (March 2, 2016) it placed a fund on a watch list rather than replacing it, as




106Cammack’s Rezler was a careful and credible witness who is well-versed in reviewing a fund’s
invetsments. He is a VP for Client Consulting and oversees Cammack’s seven client consulting
teams in New York City. (Rezler Decl. ¶¶ 1, 5.) Since joining Cammack in 2005, he has focused
primarily on 403(b) plans and helps fiduciaries: (1) evaluate, select, and manage their plans’
recordkeepers; (2) monitor the amount of revenue sharing and recordkeeping fees; and (3) select and
monitor plan investments. (Id.) He has worked in the ERISA-regulated retirement plan services
industry for over twenty years. (Id.)
                                                    60
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Cammack had suggested. (DX587.) This acceptance of Cammack’s

recommendations does not mean the Committee improperly deferred to Cammack;

it could just as easily mean (and the Court views it as such) that Cammack’s

recommendations also happened to be appropriate.

      On a quarterly basis, and using the IPS for guidance (which set forth the

types of metrics used to evaluate and monitor investments), the Committee also

compiled and reviewed the Watch List to monitor certain funds. (Rezler Decl. ¶¶

13-14; Surh Decl. ¶ 17; PX481 at 3.) Funds were put on the Watch List for a

number of reasons, such as a fund manager change, a sub-adviser change, or

underperformance. (Tr. at 1276:3-10; Halley Decl. ¶ 13; Surh Decl. ¶ 18.) The

Committee analyzed the funds on the Watch List at almost every Committee

meeting and discussed the addition or removal of funds to or from the Watch List

where applicable. (Rezler Decl. ¶ 13; Halley Decl. ¶ 13.) Funds on the Watch List

were not automatically removed from the investment lineup; rather, they were

initially analyzed and discussed by the Committee at length. (Rezler Decl. ¶ 13;

Surh Decl. ¶ 18; Halley Decl. ¶ 13.)

VI.   CLAIM REGARDING TWO SPECIFIC FUNDS

      In Claim V, plaintiffs assert that NYU failed to prudently monitor the Plans’

investment Options by continuing to offer two funds with what plaintiffs assert

were high fees and poor performance—namely, the CREF Stock Account and the

TIAA Real Estate Account. (Am. Compl. ¶ 217-229.) In particular, plaintiffs argue
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that the Committee used improper benchmarks to evaluate the performance of the

TIAA Real Estate Account and the CREF Stock Account. They further argue that

this improper benchmarking both reveals a process failure and masks objective poor

performance. The Court finds otherwise.

       A.     The TIAA Real Estate Account

       The TIAA Real Estate Account is a tax-deferred variable annuity contract

offered by TIAA. (Chittenden Decl. ¶ 58; see, e.g., DX689; DX679.) It is an unusual

fund because it invests in actual real estate properties. (Id. ¶ 60.) “[A]t least 75% of

the Account’s net assets have . . . direct ownership interests in real estate” and

typically less than 10% of the account’s net assets have been comprised of interests

in liquid real estate securities, such as real estate investment trusts (“REITs”) and

commercial mortgage-backed securities (“CMBSs”). (Id.; Fischel Decl. at 9-10.)

       This fund provides investors with an opportunity to participate in

investments typically only available to institutional investors; it is therefore a

valuable diversifying element of a retirement portfolio. (Chittenden Decl. ¶ 61; Tr.

at 646:6-14, 671:19-672:2.) As of September 30, 2017, it held $24.8 billion in net

assets. (Fischel Decl. at 9.) Its annual return in 2010 was 13.3%, (DX648 at 19); in

2014, it was 12.22%, (DX668 at 1); and in 2016, it was 5.20%, (DX676 at 1).107




  TIAA also guarantees liquidity for the TIAA Real Estate Account via a “liquidity guarantee”
107

under which the TIAA General Account will purchase accumulation units issued by the TIAA Real
Estate Account if there are issues with liquidity. (Fischel Decl. at 10.)
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       Ten to twenty percent of this fund’s holdings are in cash or other short-term

securities and short-term higher quality liquid investments that are easily

converted to cash. (Tr. at 642:25-643:3; Fischel Decl. at 10.) This provides a level of

liquidity that would be otherwise difficult to achieve in a real estate portfolio, (Tr. at

645:12-22), and ensures that the Account can meet participant redemption requests,

purchase or improve properties, or cover other expense needs, (Fischel Decl. at 10).

       Plaintiffs contend that the fund’s cash holdings create a “drag” on overall

return. However, whether cash increases or lowers returns (i.e., whether it is a

“drag” or a boost) depends on the health of the real estate market:

       When real estate values are increasing, then cash lowers returns,
       because the zero return on cash is averaged against deposited returns
       on real estate, and in that situation, the cash lowers risk and also
       lowers returns. But in down markets, when real . . . estate values are
       falling, then the zero return on cash improves performance because the
       zero return is averaged against negative numbers as opposed to
       positive numbers. And therefore, you can’t say that lowering risk
       either improves performance or hurts performance without specifying
       what period of time you’re looking at . . . .

(Tr. at 1525:14-25.) Fischel108 testified credibly that “there’s no doubt that REITs

are riskier” than the TIAA Real Estate Account because REITs lack cash, which

means they may have to operate using leverage or debt as part of their capital

structure. (Id. at 1524:1-1524:5.)



108Fischel has significant expertise in various relevant areas and the Court found him to highly
credible and relies heavily on his testimony. Fischel was retained by NYU to analyze plaintiffs’
claims concerning the performance of the CREF Stock Account and the TIAA Real Estate Account
from an economics perspective. (Id. ¶ 5.)
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       Surh, NYU’s CIO who was a Committee member from 2010-2014, testified

that the TIAA Real Estate Account is a “really unique and useful instrument,” as a

strategic asset and stabilizer, because it is not highly correlated to the equities

markets. (Id. at 1152:1-11.) The fund offers diversification that can lead to a better

overall return for a participant. (Id. at 644:23-645:3, 646:6-14.) Chittenden

testified that the fund is a:

       great diversifier to individuals for their retirement savings. To be able
       to say that you, as part of your retirement savings, as a man on the
       street, the average NYU participant, you can have a return that’s
       based off of commercial, directly held commercial real estate which is
       typically only available to large institutional investors is a special
       thing . . . .

(Tr. at 639:12-18.)

               1.     Benchmarks Utilized for the TIAA Real Estate Account

       During the Class Period, TIAA provided a number of benchmarks that the

Committee and participants could use to assert the performance of the TIAA Real

Estate Account. The Committee took additional steps to evaluate the performance

of the TIAA Real Estate Account and to determine whether the fund should

continue to be included in the Plans. For example, the Committee requested that

TIAA explain the strategy of the fund and the appropriateness of its chosen

benchmark. (Tr. at 257:8-14, 305:1-14.) The Committee also had detailed

discussions of the fund’s strategy, liquidity requirements, and benchmarks. (Halley

Decl. ¶ 20.)

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       While the benchmarks for the TIAA Real Estate Account did change during

the Class Period,109 the mere fact that the Committee, Cammack, and TIAA itself

changed benchmarks during the relevant time period does not indicate that the

Committee acted imprudently, or that the fund was imprudently included as an

option. Indeed, one of the factors that makes it a useful product—the diversification

it offers vis-à-vis its unique holdings—also makes it difficult to benchmark. There

simply are not similar funds in the market. The fact that the benchmarks shifted

over time indicates that the Committee was performing its review function

appropriately—it carefully considered the benchmarks being used, whether they

were appropriate, and whether a more apt benchmark existed, and it altered the

benchmarks when a more useful one was proffered. These shifts in benchmarks are

not evidence of imprudence.

               2.      Objective Prudence of the TIAA Real Estate Account

       Ultimately, benchmarks are useful to objectively evaluate fund performance.

The Court credits and relies on Fischel’s thoughtful analysis regarding the objective




109For example, at the February 21, 2012 meeting, TIAA informed the Committee that they were
working to develop a benchmark for the fund due to the challenges in benchmarking. (Surh Decl.
¶¶ 21, 24; Rezler Decl. ¶ 66; PX40 at 2).) Since 2012, TIAA has compared the Account’s performance
with the performance of “two widely used indices” that TIAA “believes . . . are most appropriate to
compare to the performance of the Account”: the NCREIF Fund Index—Open End Diversified Core
Equity (“NFI-ODCE”) and the NCREIF Property Index (“NPI”). (DX709 at 7.) NFI-ODCE is an
equal-weighted index of the investment returns from a collection of open-end commingled funds
which focus on a core real estate investment strategy, and TIAA uses the “Net of Fees” returns that
are calculated by the NCREIF in its analyses. (Id.)
                                                    65
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performance of this fund. Fischel’s analysis makes clear that retention of the TIAA

Real Estate Account was not imprudent. In contrast to Fischel’s analysis, plaintiffs’

expert, Buetow,110 failed to adjust for cash and compared the fund to a REIT.

       The TIAA Real Estate Account’s adjusted performance “has closely tracked

the performance of its benchmark during the one-, five-, and ten-year periods

ending on December 31 of each year from 2009 to 2016, and the one-, five-, and ten-

year periods ending September 30, 2017.” (Fischel Decl. at 18, 24.) The Account

“performed at least as well as would have been expected given its risk,

notwithstanding the costs of providing liquidity and other services.” (Id. at 19, 45.)

The “alpha analyses” for the TIAA Real Estate Account (which measure the

difference between the actual return and expected return (Tr. at 1264:2-9; Rezler

Decl. ¶ 15)), which the Court finds are reliable, also demonstrated that the fund

performed at least as well as expected, given its risk and notwithstanding the costs

of providing liquidity and other services. (Fischel Decl. at 20.)111




110 Buetow was retained by plaintiffs to opine on the fiduciary process and investment decisions
made by NYU and its officers and trustees. (Id. at 1.) The Court discounts Buetow’s testimony; as
described above, his analysis of fund performance did not account for a number of important factors
and the Court is not persuaded that he compared the funds in question to appropriate benchmarks.
111 Specifically, the one-factor alpha analysis for the TIAA Real Estate Account resulted in an

estimated alpha that is positive and not statistically significant in the ten-year period ended
December 31, 2009, positive and statistically significant (at the 10% level) in the ten year period
ending December 31, 2014, and positive and statistically significant (at the 1% level) in the period
from August 2010 to September 2017. A three-factor analysis resulted in estimated alphas that were
positive but not statistically significant in the ten-year period ended December 31, 2009 and the ten-
year period ended December 31, 2014, and negative but not statistically significant in the period
from August 2010 to September 2017. (Fischel Decl. at 19-20.)
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        Plaintiffs compare the TIAA Real Estate Account to the Vanguard REIT

Index over the one-, five-, and ten-year periods ending December 31, 2009, and the

one-, five-, and ten-year periods ending December 31, 2014. But as described above,

the evidence shows that a REIT is not a proper comparison for the TIAA Real

Estate Account, which invested directly in commercial properties, had a low

correlation to stocks and, therefore, operated differently from a REIT index. (Tr. at

218:6-220:9, 236:19-237:5, 1583:5-1587:23; see also Turki Decl. at 15.) But in any

case, on a month-to-month basis, the TIAA Real Estate Account still outperformed

the REIT Index more often than not. (DX456 at 60.)

        In concluding that the TIAA Real Estate Account should have been removed

as an investment option by December 31, 2009, Buetow also compared the Account’s

performance to the NCREIF Fund Index—Open Fund Diversified Core Equity

(“NCREIF Index”). (Buetow Decl. at 57; Tr. at 1707:1-1709:23.) However, this is

not the benchmark that was used by TIAA as of December 31, 2009. (Fischel Decl.

at 10, 18). Additionally, Buetow did not adjust the returns to account for cash as

TIAA did. (Tr. at 1710:12-15.)112




112Buetow does not use reliable economic methods to analyze damages related to the TIAA Real
Estate Account or appropriate benchmarks against which to measure damages; he also fails to take
into account that the annuities would not be mapped. Accordingly, the Court does not rely on
Buetow’s damages calculations. See Ruggiero v. Warner-Lambert Co., 424 F.3d 249, 255 (2d Cir.
2005) (affirming district court’s decision to exclude expert opinion and noting that “[f]ollowing Joiner,
we held that ‘when an expert opinion is based on data, a methodology, or studies that are simply
inadequate to support the conclusions reached, Daubert and Rule 702 mandate the exclusion of that
                                                       67
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       It is notable that TIAA Real Estate account is also widely accepted as an

appropriate and desirable investment by other market participants. Of TIAA’s 200

largest institutional clients with at least one 403(b) plan, all but one client held

assets in the TIAA Real Estate Account for the period 2010 through 2014.

(Chittenden Decl. ¶ 63.) In 2015 and 2016, all but two of TIAA’s largest

institutional clients held assets in the TIAA Real Estate Account. (Id.) And, of

those 200 clients, over 84% had plans that received contributions into the TIAA

Real Estate Account for the period 2010 through 2016. (Id. ¶ 64.)113

       Accordingly, plaintiffs have not demonstrated that the TIAA Real Estate

Account underperformed so significantly that the Committee was imprudent for

failing to remove it as an option. See Taylor v. United Techs. Corp., No. 03:06-cv-

1494, 2009 WL 535779, at *9-10 (D. Conn. Mar. 3, 2009) (finding that defendant

acted prudently in maintaining cash in a Stock Fund, while noting that plaintiffs

provided no evidence to the contrary and finding that defendant did not breach a

fiduciary duty by offering actively managed funds, and noting that “ERISA does not

require a fiduciary to take ‘any particular course’ so long as the fiduciary’s decision

meets the prudent person standard”); PBGC, 712 F.3d at 721 (holding that

defendant’s actions were objectively prudent because none of plaintiff’s “warning



unreliable opinion testimony” (quoting Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 266
(2d Cir. 2002))).
113 Chittenden explained that this historical data is that which he uses in connection with his duties

and responsibilities at TIAA in the last couple of years. (Tr. at 567:16-21, 652:13-653:15.)
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signs” demonstrated defendant “knew, or should have known, that the securities in

the Portfolio were imprudent investments”); cf. Bd. of Trs. of Local 295/Local 851-

IBT Emp. Pension Fund v. Callan Assocs., Inc., No. 97 Civ. 1741(HB), 1998 WL

289697, at *3-4 (S.D.N.Y. June 4, 1998) (finding defendant acted with objective

prudence in liquidating the funds’ portfolio to cash).

      B.     The CREF Stock Account

      The College Retirement Equities Fund (“CREF”) was the first variable

annuity; the CREF Stock Account was CREF’s first offering. (Chittenden Decl.

¶ 47.) It first began receiving investments in 1952 and, as of September 30, 2017,

had net assets of $123.08 billion. (Fischel Decl. at 8.) It is a tax-deferred variable

annuity that was offered by 93% of TIAA’s largest 200 clients in 2010 and 2016. (Id.

¶¶ 47, 54; DX763; DX760).) The CREF Stock Account is a broadly diversified

investment, investing across all major equity market segments, including large-,

mid, and small-cap stocks, both domestically and within foreign developed and

emerging markets. (Chittenden Decl. ¶ 48.) It had an annual rate of return of 32%

in 2009, followed by 15.72% in 2010. (Fischel Decl. at 38.)

      As of December 31, 2017, the CREF Stock Account had approximately $127

billion in assets under management. (Chittenden Decl. ¶ 52.) The Account’s

“Investment Objective” is to provide “[a] favorable long-term rate of return through

capital appreciation and investment income by investing primarily in a broadly

diversified portfolio of common stocks.” (DX760 at 27; Chittenden Decl. ¶ 48.)
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Three different investment strategies are used to manage the account —active

management, a quantitative approach, and an indexing comparison. (Chittenden

Decl. ¶ 48; DX760 at 27).)114 Under normal circumstances, the CREF Stock Account

seeks to maintain approximately 65-75% domestic equities and 25-35% foreign

equities. Its mix of domestic and international securities is unique. (Chittenden

Decl. ¶ 48; DX760 at 28 (“Under normal circumstances, the Account seeks to

maintain the weightings of its holdings as approximately 65-75% domestic equities

and 25-35% foreign equities.”). Participants who invest in the CREF Stock Account



114Plaintiffs’ assertion in Claim V is that NYU breached ERISA’s duty of prudence by offering the
actively-managed CREF Stock Account instead of a passive index account is also without merit.
ERISA does not mandate passive management (with lower fees) over active management. See
Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009) (“We see nothing in [ERISA] that requires
plan fiduciaries to include any particular mix of investment vehicles in their plan.”). The U.S.
Department of Labor recognizes that plans typically offer “actively managed” funds. U.S. Dep’t of
Labor, Emp. Benefits Sec. Admin., A Look at 401(k) Plan Fees, at 7 (Aug. 2013).
         The law of trusts, upon which the ERISA duty of prudence is based, recognizes that actively
managed funds may be prudent. Restatement 3d of Trusts, § 90 cmts. e(1) and f at 304, 307
(observing that “active management strategies” are permissible and “[t]here are no universally
accepted and enduring theories of financial markets or prescriptions for investment that can provide
clear and specific guidance to trustees and courts, varied approaches to the prudent investment of
trust funds are therefore permitted by the law”). Courts have specifically rejected the theory that a
plaintiff can establish a breach of the duty of prudence by comparing a passively-managed Vanguard
index fund to an actively-managed fund. See, e.g., Brotherston v. Putnam Invs., LLC, No. 15-13825-
WGY, 2017 WL 1196648, at *7 (D. Mass. Mar. 30, 2017) (rejecting damage model that compared
active and passive funds as “apples and oranges”).
         The Plans here offered participants both actively and passively managed index funds,
including the passively managed Vanguard funds Plaintiffs use as comparisons to the CREF Stock
Account. Thus, NYU “left choice to the people who have the most interest in the outcome, and it
cannot be faulted for doing this.” Loomis v. Exelon Corp., 658 F.3d 667, 673-74 (7th Cir. 2011). The
Plans disclosed to participants the CREF Stock Account’s investment managers, performance,
investment strategy, fees, and that it was an actively managed fund. (DX053 (2012 Investment
Options Comparative Chart for School of Medicine Faculty Plan).) “Given the numerous investment
options, varied in type and fee, [defendants] . . . can be held responsible for those choices.” Hecker,
556 F.3d at 590.
         Accordingly, the Court does not find that the inclusion of actively managed funds was
imprudent.
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have the option to transfer their investment to a TIAA traditional annuity in the

future. (Chittenden Decl. ¶ 55.)

               1.     Benchmarks Utilized for the CREF Stock Account

       Like the TIAA Real Estate Account, a number of benchmarks were used to

assess the performance of the CREF Stock Account during the Class Period.

Because of its unique domestic-foreign securities mix, it is challenging to find an

appropriate benchmark. (Rezler Decl. ¶ ¶ 72-74; PX380 at CLC003902.) The

Committee reviewed the CREF Stock Account on a quarterly basis and in the

context of the Plans’ total investment lineup. (Rezler Decl. ¶ 72; Surh Decl. ¶ 20;

Halley Decl. ¶ ¶ 13, 20; Petti Decl. ¶ 18). The Committee focused on the difficulties

with benchmarking that the CREF Stock Account presented due to its composition.

(Rezler Decl. ¶ 72-74.) It determined that, as a result of these benchmarking

difficulties, the CREF Stock Account was one that warranted “specialized

discussions.” (PX481 at 2).)115 Such discussions occurred.

       As with the TIAA Real Estate Account, the mere fact that benchmarks

changed for the CREF Stock Account does not make its inclusion as a Plan option

imprudent. The Committee was actively engaged with the Fund and its

benchmarks, asking for clarification at several points throughout the Class Period.




115For example, the Committee specifically noted in April 2011 that the CREF Stock Account was
benchmarked against “large cap domestic equities only,” when that was not how the fund invested.
(Rezler Decl. ¶ 72.)
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             2.    Objective Prudence of the CREF Stock Account

      Plaintiffs have also failed to prove that the Committee’s inclusion of this fund

was objectively imprudent. In support of objective underperformance, plaintiffs

compare the fund to the Russell 3000 Index, two passively managed index funds

(VITPX and VIIIX), and three purportedly comparable actively managed funds

(VDEQX, VPMAX, and VHCAX). However, plaintiffs’ comparisons are misleading.

They present data for the one-, five- and ten-year periods ending December 31, 2014

and, with respect to the purportedly comparable actively-managed funds, the one-,

five- and ten-year periods ending December 31, 2009. However, a more accurate

comparison shows the CREF Stock Account did not underperform.

      Looking at the one-, five-, and ten-year periods ending December 31, 2009,

plaintiffs compare the CREF Stock Account with the performance of the purportedly

comparable actively managed funds during these periods, but do not compare its

performance with the Russell 3000 Index or the two passive index funds. (Fischel

Decl. at 12.) When that comparison is made, the CREF Stock Account outperforms

during that period. (Id. at 12, 36.) For example, the one-year total return for 2009

for the CREF Stock Account was 32.15%; for the VITPX, VIIIX, and Russell 3000, it

was 28.92%, 26.66%, and 28.29%, respectively. (Id. at 36.) The five-year average

annual return as of December 31, 2009 was 1.64%; for the VITPX, VIIIX, and

Russell 3000, it was 0.65%, -0.02%, and 0.75%, respectively. (Id.)



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       With regard to monthly performance, the CREF Stock Account did not

consistently underperform any of the alternatives identified by Plaintiffs during

either ten-year period ending December 31, 2009 or the ten-year period ending

December 31, 2014. (Id. at 12.) With respect to each alternative and time period,

the CREF Stock Account performed better in a substantial fraction of the months

during both of these ten-year periods. (Id. at 12, 37.) For example, on a monthly

basis for the ten-year period ending December 31, 2009, the CREF Stock Account

performed better than the Russell 3000 Index 53% of the time and better than the

VIIIX Fund 57% of the time. However, on a monthly basis in the ten-year period

ending December 31, 2014, the CREF Stock Account performed better than the

Russell 3000, VIIIX, VITPX, VDEQX, VPMAX, and VHCAX between 41-48% of the

time. In other words, those funds saw higher returns slightly more than half of the

time period. (Id. at 37.)

       The CREF Stock Account closely tracked the performance of its benchmark

index during the one-, five-, and ten-year periods ending on December 31 of each

year from 2009 to 2016, and the one-, five-, and ten-year periods ending June 30,

2017.116 (See id. at 13, 38.) In that time period, the fund rarely deviated from the



116As discussed above, as of 2009, the CREF Stock Account’s publicly stated (and available)
composite benchmark was the Russell 3000 Index, the MSCI Barra EAFE® + Canada Index, the
MSCI Emerging Markets Index and the MSCI EAFE + Canada Small Cap Index. In mid-2011, the
account’s publicly stated (and available) composite benchmark in its prospectus was changed to a
composite index of two unmanaged indices: (1) Russell 3000® Index (70%); and (2) the MSCI All
Country World ex-US Investable Market Index (30%).
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composite benchmark index by more than one percent. (See id. at 38.) In addition,

alpha estimates117 of the CREF Stock Account demonstrate that the fund performed

as well as would have been expected, given its risk profile, notwithstanding the

costs of providing liquidity and other services.118 (Id. at 16-17, 41.)

       Plaintiffs’ comparisons between the CREF Stock Account’s performance and

that of passively and actively managed index funds (VITPX, VIIIX, VDEQX,

VPMAX, and VHCAX) are inapposite, because those funds do not account for the

foreign stock market’s performance or the performance of the relevant segments of

the U.S. and foreign markets.119 (Id. at 13.)




117 As discussed above, alpha is a measure of the difference between the actual return of a portfolio
and the expected return of that portfolio (which depends upon the underlying risk of the portfolio)
during a specific period of interest. (Fischel Decl. at 16.)
118 Specifically, one-factor models using only US market factors result in alpha estimates that are not

significantly different from zero (both positive and negative depending on which index is used) in the
ten-year period ended December 31, 2009 and alpha estimates that are negative and statistically
significant in both the ten-year period ended December 31, 2014 and the period from August 2010 to
September 2017. Two-factor models that use both a US market index and an international market
index result in alpha estimates that are not significantly different from zero in all estimation
periods.
119 Specifically, the Vanguard Institutional Total Stock Market Index Fund (i.e., VITPX) “employs an

indexing investment approach designed to track the performance of the CRSP US Total Market
Index, which represents approximately 100% of the investable U.S. stock market and includes large-,
mid-, small-, and microcap stocks regularly traded on the New York Stock Exchange and Nasdaq.”
The Vanguard Institutional Total Stock Market Index Fund (i.e., VITPX) “employs an indexing
investment approach designed to track the performance of the CRSP US Total Market Index, which
represents approximately 100% of the investable U.S. stock market and includes large-, mid-, small-,
and microcap stocks regularly traded on the New York Stock Exchange and Nasdaq.” The Vanguard
Diversified Equity Fund (i.e., VDEQX) “invests in a diversified group of other Vanguard equity
mutual funds, rather than in individual securities,” and “[t]he underlying funds’ holdings mainly
consist of large-, mid-, and small capitalization equity securities of domestic companies.” The
Vanguard PRIMECAP Fund (i.e., VPMAX) “invests in stocks considered to have above-average
earnings growth potential that is not reflected in their current market prices” (i.e., growth stocks)
and its “portfolio consists predominantly of large- and mid-capitalization stocks.” The Vanguard
Capital Opportunity Fund (i.e., VHCAX) “invests mainly in U.S. stocks, with an emphasis on
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       Additionally, it is not clear the Russell 3000 Index is the appropriate

benchmark by which to measure the CREF Stock Account’s objective performance.

In December 2017, TIAA changed its benchmark from the Russell 3000 Index to the

Morningstar Aggressive Target Risk Index. (Tr. at 629:23-630:3; PX929.) At that

time, the fund’s one-year returns were 23.43%, compared with 21.95% for the

Morningstar Aggressive Target Risk Index and 23.13% for the CREF Composite

Benchmark. (PX929.) Its 10-year return were 6.44%, compared with 6.50% or the

Morningstar Aggressive Target Risk Index and 6.71% for the CREF Composite

Benchmark. (Id.)

       Plaintiffs’ expert, Buetow, claimed to have looked at the CREF Stock Account

against its publicly stated actual benchmark as of December 31, 2009, concluding

that the CREF Stock Account had a period of “longstanding underperformance over

3, 5, and 10 years as December 31, 2009.” (Buetow Decl. at 35). But Buetow

incorrectly used the benchmark for the CREF Stock Account that was not in place

until mid-2011 to cover a period prior to mid-2011. (Compare Fischel Decl. at 8-9,

13-14, with Buetow Decl. at 35; see also Tr. at 1476:2-13, 1575:18-1576:17, 1667:23-

1668:14; Turki Decl. ¶ 20.) In fact, the benchmark Buetow used was his own

creation. (Tr. at 1667:16-1668:14, 1670:16-20, 1675:20-1676:15).




companies that are considered to have prospects for rapid earnings growth” and “emphasize[s] mid-
cap stocks.” (Fischel Decl. at 13-14.)
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      In addition to Buetow’s use of an incorrect benchmark, Fischel pointed out

that if “you add the fees for services, the three-year number would turn positive and

the five and the ten . . . would be correspondingly reduced as well.” (Tr. at 1577:2-

6). It was misleading for Buetow to cite to a “TIAA-CREF Annual Review”

apparently provided by an accountant to the State Universities Retirement System

(“SURS”) (DX901) because that exhibit supports Fischel’s conclusion regarding the

market acceptance of the CREF Stock Account. (Tr. at 1578:7-17.) Further, DX901

shows that the CREF Stock returned 32.04 percent in 2009, “outperforming the

composite benchmark of 29.65 percent by 239 basis points.” (Tr. at 1578:7-1579:22).

Accordingly, a prudent fiduciary looking at DX901 would draw the opposite

conclusion from Buetow. (Tr. at 1578:7-1579:22).

      Moreover, based on its analysis of the performance of the CREF Stock

Account, the SURS investment committee concluded that as of April 2, 2010, “[t]he

CREF Stock Account is a stand-alone equity allocation that offers a well-diversified

portfolio of domestic and foreign equity holdings of all sectors, styles and market

caps, using a combination of active management, enhanced indexing and pure

indexing. It has closely tracked the benchmark over longer time periods. We

recommend retention of this option.” (Tr. at 1579:2-1582:11; DX901 at 20.)




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       Accordingly, plaintiffs have not demonstrated that the CREF Stock Account

was objectively imprudent or that participants suffered losses due to its inclusion in

the Plan.120




120Plaintiffs have also argued that in failing to identify the correct benchmark for the TIAA Real
Estate Account and the CREF Stock Account, the Committee acted imprudently. But the
benchmarking was adequate. Plan participants received a wealth of information about the funds,
including materials pointing them to alternative benchmarks for each. For example, TIAA quarterly
performance analyses are available on TIAA’s website as well as the SEC’s website. The reports
provide two indices to assess the TIAA Real Estate Account’s performance, including the REA
Composite Index for comparison. This Index is comprised of (1) the total return for all real estate
properties owned or managed in commingled open-end funds, as derived from the database of the
National Council of Real Estate Investment Fiduciaries (“NCREIF”), an independent party
(hereinafter, “NCREIF Open-end”), (2) the FTSE Group (FTSE) NAREIT Equity REIT Index or, for
periods prior to the second quarter of 2009, the Dow Jones Wilshire Real Estate Securities Index,
and (3) the iMoneyNet All-Taxable Average for short-term, cash-like investments. (DX724; see also
DX900.) Additionally, the Plan summary is given to every participant, (Tr. at 1543:3-7), and it
directs participants to the TIAA and Vanguard websites to see the various funds’ prospectuses,
(DX384).
         In 2012, TIAA began to provide NYU with information to provide 404a5 disclosures to
participants, and TIAA assists in their delivery to participants. (Chittenden Decl. ¶ 108.) As
required by the Department of Labor Regulations, in the 404a5 disclosures TIAA shows the
performance of the CREF Stock Account versus a broad-based securities market index, the Russell
3000 Index, as opposed to using the account’s composite benchmark stated in its prospectus because
the Department of Labor Regulations do not permit the use of composite benchmarks or customized
benchmarks in the 404a5 disclosures and only permits the use of one benchmark for each investment
option. (Tr. at 1010:12-16, 1011:20-1012:5.) However, the Russell 3000 Index is not necessarily
sufficient, on its own, to help participants understand whether the CREF Stock Fund is performing
well vis-à-vis comparable stock funds because it is comprised entirely of domestic holdings (and the
CREF Stock Fund has 30% international holdings). (Id. at 1440:21-1441:3.)
         The 404a5 disclosures also direct the participant to the prospectus for more detailed
information. (Id. at 1541:19-1542:12.) Moreover, the Plans’ Summary Plan Descriptions inform
participants to read all descriptions and disclosure materials relative to investment options under
the Plan before making investment decisions. (Id. at 1542:6-12, 1543:3-20.) The CREF Stock
Account closely tracked the performance of the CREF Stock Composite Benchmark during the one-,
five-, and ten-year periods ending on December 31 of each year from 2009 to 2016, and the one-, five-,
and ten-year periods ending June 30, 2017. (Fischel Decl. at 20-21, 38.)
         Accordingly, any argument that participants received inadequate information is without
merit.
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VII.   CONCLUSION

       For the reasons stated above, the Court finds in favor of defendant NYU on

all claims. The Clerk of Court is directed to enter judgment for NYU, close all open

motions in 16-cv-6284, and terminate the case.

       SO ORDERED.

       Dated:      New York, New York
                   July 31, 2018

                                            ____________________________________
                                                 KATHERINE B. FORREST
                                                 United States District Judge




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